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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 11
In re:
Case No. 10-12199 (CSS)
LESLIE CONTROLS, INC.,

Debtor.

 

 

FIRST AMENDED PLAN OF REORGANIZATION OF LESLIE CONTROLS, INC.
UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

Wilmington, Delaware
Dated: August 20, 2010

This Plan of Reorganization provides for an “Asbestos PI Channeling Injunction ” pursuant
to section 524(g) of the Bankruptcy Code. F or a description of the causes of action to be
enjoined and the identities of the entities that would be subject to the injunction, see Article XI
of this Plan.

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INTRODUCTION

Leslie Controls, lnc., the debtor, proposes the following plan of reorganization pursuant
to section 1121(a) of title 1 1 of the United States Code:

ARTICLE I.
DEFINITIONS AND INTERPRETATIONS

In the Plan, the definitions provided in this Article I shall apply. Unless otherwise
specified, all Article, schedule or exhibit references in the Plan are to the respective Article of or
schedule or exhibit to the Plan or the Plan Supplement, as the same may be amended or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of
similar import refer to the Plan as a whole and not to any particular Article, subsection or clause.
A term used but not defined herein shall have the meaning ascribed to that term in the
Bankruptcy Code. The rules of construction contained in section 102 of the Bankruptcy Code
shall apply to the construction of the Plan. The headings in the Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof.

1.1. Ad Hoc Committee means the group of law firms that represent certain
current asbestos personal injury claimants formed prior to the Commencement Date for
the purpose of negotiating the terms of a possible plan of reorganization for Leslie.

1.2. Administrative Claims Bar Date means the deadline to file an
Administrative Expense Request which shall be the date that is sixty (60) days after the
Effective Date or the First Business Day following such date.

1.3. Administrative Expense Claim means any right to payment constituting
a cost or expense of administration of the Chapter 11 Case Allowed under sections
503(b), 507(a)(1), and 507(b) of the Bankruptcy Code, including, without limitation: (a)
any actual and necessary costs and expenses of preserving Leslie’s Estate; (b) any actual
and necessary costs and expenses of operating Leslie’s business; (c) any indebtedness or
obligations incurred or assumed by Leslie as a Debtor in Possession during the Chapter
11 Case; and (d) any compensation for Professional services rendered and reimbursement
of expenses incurred, to the extent Allowed by Final Order under section 330 or 503 of
the Bankruptcy Code.

1.4. Administrative Expense Request means a request for payment of an
Administrative Expense Claim.

1.5. Affiliate means, with respect to a specified Entity: (a) an Entity that
directly or indirectly owns, controls or holds with power to vote twenty percent (20%) or
more of the outstanding voting securities of such specified Entity; (b) an Entity, twenty
percent (20%) or more of whose outstanding voting securities are directly or indirectly
owned, controlled, or held with power to vote by such specified Entity, or by an Entity
described in subclause (a); or (c) any other Entity that, directly or indirectly, through one
or more intermediaries`or otherwise, Controls or is Controlled by, or is under common

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Control with the specified Entity; provided, however, that without limiting the generality
of the foregoing, with respect to an Affiliate of Leslie or an Entity affiliated with Leslie,
the term Affiliate shall include the meaning ascribed thereto in section 101(2) of the
Baril<ruptcy Code.

1.6. Allowed means, when used with respect to any Claim against Leslie,
including Administrative Expense Claims but excluding Asbestos PI Claims, such Claim
or portion thereof: (a) as to which no objection or request for estimation has been filed,
no litigation has commenced, and Leslie otherwise has assented to the validity thereof
(and as to which proof of such Claim has been properly and timely filed to the extent
required by the Plan or any order of the Bankruptcy Court); (b) as to which any objection
or request for estimation that has been filed has been settled, waived, withdrawn or
denied by a Final Order; or (e) that is allowed (i) pursuant to the terms of a Final Order,
(ii) pursuant to the terms of an agreement by and among the holder(s) of such Claim and
Leslie (or Reorganized Leslie, as the case may be), or (iii) under the terms of the Plan;
provided, however, that for the purposes of determining the status (i.e., Allowed or
Disallowed) of a particular Claim prior to the expiration of the period fixed for filing
objections to the allowance or disallowance of Claims, any such Claim which has not
been previously allowed or disallowed by a Final Order of the Bankruptcy Court or the
Plan shall be deemed a Disputed Claim unless such Claim is specifically identified by the
Debtor as being an Allowed Claim.

1.7. Allowed Amount means, with respect to any Claim (excluding Asbestos
PI Claims), the lesser of: (a) the dollar amount of such Claim as Allowed; (b) the
estimated amount of such Claim; and (c) the dollar amount agreed to by Leslie, Unless
otherwise provided in the Plan or a Final Order of the Bankruptcy Court or the District
Court, the Allowed Amount of an Allowed Claim, except for the Allowed Amount of the
DIP Claim, shall not include interest or penalties accruing on such Allowed Claim from
and after the Commencement Date. ln addition, unless a Final Order of the Bankruptcy
Court provides otherwise, the Allowed Amount of an Allowed Claim shall not, for any
purpose under the Plan, include interest at any default rate of interest.

1.8. Amended By-Laws means the amended and restated by-laws of
Reorganized Leslie, substantially in the form as will be set forth in a Plan Supplement.

1.9. Amended Certificate of Incorporation means the amended and restated
certificate of incorporation of Reorganized Leslie, substantially in the form as will be set
forth in a Plan Supplement.

1.10. Asbestos Claimants Committee means the official committee of asbestos
claimants appointed in the Chapter 11 Case, as such committee may be reconstituted
from time to time.

1.11. Asbestos Insurance Action means any Claim, Cause of Action (pending
now or commenced in the future), arbitration or right of the Asbestos PI Trust, Leslie, or
Reorganized Leslie against any Asbestos Insurance Entity related to any Asbestos PI
Insurance Contract, any Insurance Settlement Agreement or any other settlement

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agreement with any Asbestos Insurance Entity, or any Claim, Cause of Action (pending
now or corrimenced in the future), or rights of any Asbestos Insurance Entity against any
of the Asbestos PI Trust, Leslie, or Reorganized Leslie related to any Asbestos PI
Insurance Contract, any Insurance Settlement Agreement or any other settlement
agreement with any Asbestos Insurance Entity, including but not limited to any Claim or
Cause of Action (pending now or commenced in the future), or right arising from, under
or related to (a) any such Asbestos Insurance Entity’s failure or alleged failure to provide
coverage or pay amounts billed to it for Asbestos PI Claims, whether prior to or after the
Commencement Date; (b) the refusal or alleged refusal of any Asbestos Insurance Entity
to pay any obligations on, or compromise and settle, any Asbestos PI Claim under or
pursuant to any Asbestos PI Insurance Contract; or (c) the interpretation or enforcement
of the terms of any Asbestos PI Insurance Contract with respect to any Asbestos PI
Claim.

1.12. Asbestos Insurance Entity means any Entity, including any insurance
company, broker, or guaranty association, that has issued, or that has any actual,
potential, or alleged liabilities, duties, or obligations under or with respect to, any
Asbestos PI Insurance Contract or any other insurance policy that provides or allegedly
provides coverage to Leslie for Asbestos Pl Claims.

1.13. Asbestos insurance Entity Injunction means the injunction described in
Section ll.ll of the Plan.

1.14. Asbestos Insurance Rights means any and all rights, titles, privileges,
interests, claims, demands, or entitlements to any proceeds, payments, initial or
supplemental dividends, scheme payments, supplemental scheme payments, causes of
action, and choses in action related to any and all Asbestos PI Insurance Contracts or
Insurance Settlement Agreements, whether now existing or hereafter arising, accrued or
unaccrued, liquidated or unliquidated, matured or unmatured, disposed or undisposed,
fixed or contingent, including but not limited to: (a) any and all rights to pursue or
receive payments with respect to Asbestos PI Claims under any and all Asbestos PI
Insurance Contracts or Insurance Settlement Agreements, whether for liability, defense,
or otherwise; (b) any and all rights to pursue or receive payments related to any and all
Asbestos PI Insurance Contracts or Insurance Settlement Agreements that were entered
into by any domestic or foreign insolvent insurance company, whether in receivership,
liquidation, rehabilitation, run-off, scheme or arrangement, or any other form of
proceeding; and (c) any and all rights to pursue or receive payments related to any and all
Asbestos PI Insurance Contracts or Insurance Settlement Agreements from any state
insurance guaranty association in connection with any state insurance guaranty
association statue.

1.15. Asbestos PI Channeling Injunction means the injunction pursuant to
section 524(g) of the Bankruptcy Code described more fully in Section 1 1.7 below.

1.16. Asbestos PI Claim means each of the following: (a) a Leslie Asbestos PI
Claim; (b) a Derivative Liability Asbestos PI Claim; and (c) an lndirect Asbestos PI
Claim. Notwithstanding anything in this Section 1.16, or in Sections 1.27, 1.64, 1.65,

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1.86, or 1.92, the definitions of Asbestos PI Claim, Leslie Asbestos PI Claim, Derivative
Liability Asbestos PI Claim, Derivative Liability Claim, lndirect Asbestos PI Claim, and
Asbestos PI Trust Expense shall not include any claims, rights, or demands that any or all
of the Watts Related Parties have asserted or may assert under the Distribution
Agreement dated as of October 1, 1999 by and between Watts Industries, Inc. and
CIRCOR.

1.17. Asbestos PI Insurance Contract means any insurance policy or policies
issued or allegedly issued by any Asbestos Insurance Entity to or for the benefit of Leslie,
or to or for the benefit of any predecessor of Leslie that provide or allegedly provide
coverage to Leslie for Asbestos PI Claims, including, without limitation, any settlement
agreement or any Insurance Settlement Agreements.

1.18. Asbestos PI Insurer Coverage Defense means any defense at law or in
equity that any Asbestos Insurance Entity may have under applicable non-bankruptcy law
to providing insurance coverage for or on account of any Asbestos PI Claim that has been
channeled to or has been or will be assumed or incurred by the Asbestos PI Trust
pursuant to the Plan, except for any defense that has been released, waived, altered or
otherwise resolved, in full or in part, in any Insurance Settlement Agreement, any other
settlement agreement with such Asbestos Insurance Entity, by binding adjudication or
otherwise by conduct.

1.19. Asbestos PI Trust means the asbestos personal injury trust that is to be
established pursuant to section 524(g) of the Bankruptcy Code and in accordance with the
Plan, the Confirmation Order and the Asbestos PI Trust Agreement, which trust shall be
treated as a “qualified settlement fund” under section 468B of the Intemal Revenue Code.

1.20. Asbestos PI Trust Advisory Committee means the Asbestos PI Trust
advisory committee established pursuant to the terms of the Plan and the Asbestos PI
Trust Agreement.

1.21. Asbestos PI Trust Agreement means the agreement, to be dated as of the
Effective Date, by and among Reorganized Leslie, ClRCOR, the Asbestos PI Trustee, the
Future Claimants’ Representative and the Asbestos PI Trust Advisory Committee,
governing the creation and terms of the Asbestos PI Trust, in substantially the form
annexed hereto as Exhibit A.

1.22. Asbestos PI Trust Assets means, collectively: (a) the Asbestos PI Trust
Contributions; (b) the Asbestos Insurance Rights; (c) the Asbestos Insurance Actions; (d)
all other assets, ri ghts, and benefits assigned, transferred or conveyed to the Asbestos PI
Trust in connection with the Plan or any Plan Documents; and (e) all proceeds of the
foregoing

1.23. Asbestos PI Trust Bylaws means the Asbestos PI Trust Bylaws, effective
as of the Effective Date, substantially in the form annexed as Exhibit B, as such bylaws
may be amended or modified from time to time in accordance with the terms of the
Asbestos PI Trust Agreement,

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1.24. Asbestos PI Trust Contributions means, collectively, the Leslie
Contribution and the CIRCOR Asbestos PI Trust Contribution.

1.25. Asbestos PI Trust Distribution Procedures means the trust distribution
procedures for the Asbestos PI Trust, in substantially the form annexed hereto as Exhibit
C, and such additional procedures as subsequently may be adopted by the Asbestos PI
Trust, which provide for the liquidation and satisfaction of Asbestos PI Claims.

1.26. Asbestos PI Trust Documents means, collectively: (a) the Asbestos PI
Trust Agreement; (b) the Asbestos PI Trust Distribution Procedures; (c) the Asbestos PI
Trust Bylaws; (d) the Asbestos PI Trust lndemnification Agreement; (e) the Asbestos
Records Cooperation Agreement; and (f) the other agreements, instruments and
documents governing the establishment and administration of the Asbestos PI Trust, as
the same may be amended or modified from time to time, in accordance with the terms
thereof.

1.27, Asbestos PI Trust Expense means any of the liabilities, costs, or
expenses incurred by the Asbestos PI Trust (other than liabilities to holders of Leslie
Asbestos PI Claims, Derivative Liability Asbestos PI Claims and lndirect Asbestos PI
Claims in respect of Asbestos Pl Claims), in carrying out the terms of the Asbestos PI
Trust Agreement.

1.28. Asbestos PI Trust Indemnification Agreement means the
Indemnification Agreement entered into by and among Leslie or Reorganized Leslie, as
the case may be, ClRCOR, on behalf of itself and for the benefit of each other Asbestos
Protected Pai‘ty (as defined therein), and the Asbestos PI Trust, substantially in the form
annexed as Exhibit B to the Asbestos PI Trust Agreement.

1.29. Asbestos PI Trustee means the individual set forth in a Plan Supplement
and appointed pursuant to the Confirmation Order to serve as the trustee for the Asbestos
PI Trust in accordance with the terms of the Plan and the Asbestos PI Trust Agreement or
any successors thereof.

1.30. Asbestos Protected Party means each of the following:
(a) the Leslie Related Parties;
(b) the CIRCOR Related Parties;
(c) the Watts Related Parties;

(d) any Settling Asbestos Insurance entity entitled to protection by
agreement of the parties; and

(e) any current or former Representative of any of the above.

1.31. Asbestos Records shall have the meaning ascribed to it in the Asbestos
Records Cooperation Agreement,

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1.32. Asbestos Records Cooperation Agreement means the cooperation
agreement with respect to Asbestos Records entered into as of the Effective Date,
substantially in the form as will be set forth in a Plan Supplement.

1.33. Asbestos Records Party means each Entity whose books and records, or
any portion thereof, are Asbestos Records.

1.34. Avoidance Action means any avoidance or recovery action under any of
sections 502(d), 542, 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code,
or under related state or federal statutes and common law, whether or not litigation has
been commenced with respect to such cause of action as of the Effective Date.

1.35. Ballot means each of the ballots and/or master ballots distributed with the
Disclosure Statement to holders of Impaired Claims against or Equity lnterests in Leslie
on which ballot such holder of a Claim or Equity Interest may, among other things, vote
to accept or reject the Plan.

1.36. Bankruptcy Code means title l l of the United States Code, ll U.S.C.§§
101 e_t. s£q., as in effect on the Commencement Date, together with all amendments,
modifications and replacements of the foregoing as the same may exist on any relevant
date to the extent applicable to the Chapter ll Case,

1.37. Bankruptcy Court means the United States Bankruptcy Court for the
District of Delaware or such other court as may have jurisdiction over the Chapter 1 1
Case.

1.38. Bankruptcy Rules means, collectively: (a) the Federal Rules of
Bankruptcy Procedure as promulgated by the United States Supreme Court under section
2075 of title 28 of the United States Code; (b) the Federal Rules of Civil Procedure, as
applicable to the Chapter 11 Case or any proceedings therein; and (c) the local rules of
the Bankruptcy Court, all as amended from time to time and applicable to the Chapter 11
case.

1.39. Business Day means any day except: (a) Saturday; (b) Sunday; (c) any
other day on which banking institutions in Wilmington, Delaware are required or
authorized to be closed by law or executive order; and (d) the Friday immediately after
Thanksgiving.

1.40. Cash means legal tender of the United States of America.

1.41. Cause of Action means any action, including any cause of action,
liability, obligation, account, controversy, right to legal remedy, right to equitable
remedy, right to payment, suit, debt, sum of money, damage, judgment, Claim or
Demand whatsoever, whether known or unknown, now or in the future, reduced to
judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, secured, or unsecured, whether asserted or assertable
directly or derivatively, in law, equity or otherwise, which may be brought by or on

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behalf of Leslie and/or the Estate, arising under any provision of the Bankruptcy Code or
other applicable law or regulation or similar governmental pronouncement

1.42. Chapter 11 Case means Leslie’s case under Chapter 11 of the Bankruptcy
Code, captioned In re Leslie Controls, Inc., Case No. 10-12199 (CSS).

1.43. Claim means: (a) a right to payment, whether or not such right is reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
legal, equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of
performance if such right gives rise to a right to payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured or unsecured

1.44. Claims and Balloting Agent means the claims, noticing and balloting
agent in the Chapter 11 Case, Epiq Bankruptcy Solutions, LLC.

1.45. Class means a category of holders of Claims or Equity lnterests described
in Article IV below.

1.46. CIRC()R means CIRCOR lnternational, Inc., a Delaware corporation

1.47. CIRCOR Affiliate means each of the Entities listed on Schedule 1 hereto,
as may be amended at any time prior to the Effective Date with the consent of C[RCOR,
the Asbestos Claimants Committee, and the Future Claimants’ Representative, with such
consent not to be unreasonably withheld

1.48. CIRC()R Asbestos PI Trust Contribution means, in the aggregate, the
following contributions made to the Asbestos PI Trust by CIRCOR, for itself and on
behalf of both the other C[RCOR Related Parties and the Watts Related Parties,
including:

(a) the CIRCOR Cash; and
(b) the CIRCOR Pledge.

1.49. CIRCOR Cash means the $74 million contribution of Cash by CIRCOR
on behalf of itself and both the other CIRCOR Related Parties and the Watts Related
Parties, to the Asbestos PI Trust on the Effective Date.

1.50. CIRCOR Pledge means the granting of a security interest in 100% of the
outstanding voting equity interests of Reorganized Leslie to the Asbestos PI Trust as
security for the Leslie Promissory Note pursuant to the Pledge Agreement,

1.51. CIRCOR Related Parties means: (a) CIRCOR; (b) any CIRCOR
Affiliate; (c) any predecessor in interest to CIRCOR or a CIRCOR Affiliate; and (d) any
Entity that owned or owns a financial interest in CIRCOR, a CIRCOR Affiliate or their
predecessors

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1.52. CIRCOR Secured Claim means the Secured Claim held by CIRCOR
against Leslie.

1.53. Commencement Date means July 12, 2010.

1.54. Confirmation Date means the later of, as applicable, with respect to the
Chapter 1 1 Case: (i) the date on which the Confirmation Order is entered by Bankruptcy
Court and affirmed by the District Court or (ii) the date on which the Confirmation Order
is entered by the District Court,

1.55. Confirmation Hearing means the hearin g to be held by the Bankruptcy
Court and/or District Court pursuant to section 1128 of the Bankruptcy Code to consider
Confirmation of the Plan, as such hearing may be adjourned or Continued from time to
time.

1.56. Confirmation Order means, as the context requires, the order or orders
of the District Court confirming the Plan under section 1129 of the Bankruptcy Code or
affirming an order of the Bankruptcy Court confirming the Plan under section 1129 of the
Bankruptcy Code, which shall contain, among other things, the Asbestos PI Channeling
injunction ’

1.57. Control means the possession, directly or indirectly, of the power to direct
or cause the direction of management, policies, or activities of an Entity, whether through
ownership of voting securities, by contract, or otherwise

1.58. Cure means the payment of Cash by Leslie, or the distribution of other
property (as the parties may agree or the Bankruptcy Court may order), as necessary to:
(a) cure a default by Leslie under an Executory Contract; and (b) permit Leslie to assume
such Executory Contract under section 365 of the Bankruptcy Code.

1.59. Cure Notice means the pleading that the Reorganized Debtor shall file
and serve within thirty (30) days after the Effective Date listing the amount of the
proposed Cure for each assumed, or assumed and assigned, Executory Contract,

1.60. Debtor means Leslie Controls, lnc. in the Chapter 1 1 Case.

1.61. Debtor in Possession means Leslie Controls, Inc., as debtor in possession
in the Chapter 1 1 Case pursuant to section 1101(1) of the Bankruptcy Code.

1.62. Debtor Released Parties means, collectively, the Debtor, Reorganized
Leslie, the officers, directors and employees of the Debtor who were either serving in
such capacities as of the Confirmation Date, or who had served in such capacities during
the Chapter 11 Case, the officers, directors and employees of Reorganized Leslie serving
in such capacity after the Effective Date and, with respect to each of the above-named
Entities, such Entity’s principals, employees, agents, current and former officers, current
and former directors, financial advisors, attorneys, investment bankers, accountants,
consultants and other professionals, agents and any of their successors and assigns.

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1.63. Demand means any demand for payment, present or future, within the
meaning of section 524(g)(5) of the Bankruptcy Code, that: (a) was not a Claim during
the Chapter 11 Case; (b) arises out of same or similar conduct or events that gave rise to
the Asbestos PI Claims; and (c) pursuant to the Plan, is to be paid by the Asbestos PI
Trust.

1.64, Derivative Liability Asbestos PI Claim means any claim based upon a
legal or equitable theory of liability in the nature of veil piercing, alter ego, successor
liability, vicarious liability, fraudulent transfer, or conspiracy, upon which any of the
CIRCOR Related Parties or Watts Related Parties are liable, or are allegedly liable,
arising out of, resulting from, or relating to directly or indirectly, death, bodily injury,
sickness, disease, or other personal injury, physical, emotional or otherwise, to persons,
caused, or allegedly caused, directly or indirectly, by the presence of, or exposure to,
asbestos or asbestos-containing products, to the extent arising, directly or indirectly, from
acts, omissions, business, or operations of Leslie (including the acts, omissions, business,
or operations of any other Entity for whose product or operations Leslie has liability, to
the extent of Leslie’s liability for such acts, omissions, business, or operations) (including
any acts or omissions that constituted or may have constituted ordinary or gross
negligence or reckless, willful, or Wanton misconduct of Leslie or any other Entity for
whose products or operations Leslie has liability or is alleged to have liability, or any
conduct for which Leslie, or any other Entity for whose products or operations Leslie has
liability or is alleged to have liability, may be deemed to have strict liability under any
applicable law) including all related claims, debts, obligations, or liabilities for
compensatory damages (such as loss of consortium, medical monitoring personal or
bodily injury, wrongful death, survivorship, proximate, consequential, general, punitive,
and special damages). For purposes of this definition, “veil piercing, alter ego, successor
liability, vicarious liability, fraudulent transfer, or conspiracy” claims shall include, but
not be limited to, (a) fraudulent transfer or fraudulent conveyance claims under
applicable state or federal law, (b) denuding the corporation claims, (c) single business
enterprise claims, (d) claims that Leslie was the predecessor, (f) mere instrumentality,
agent or alter ego of any of the CIRCOR Related Parties or Watts Related Parties, (g)
trust fund claims, (h) claims that any of the CIRCOR Related Parties or Watts Related
Parties conspired with Leslie, and (i) any causes of action against any CIRCOR Related
Parties or Watts Related Parties that belong to the Debtor or Debtor in Possession,
whether or not included in the foregoing list, including any other such Claim or cause of
action against an Entity entitled to protection under section 524(g)(4)(A)(ii).

1.65. Derivative Liability Claim means any claim, other than a Derivative
Liability Asbestos PI Claim, whether in existence or arising now or in the future, based
upon a legal or equitable theory of liability in the nature of veil piercing, alter ego,
successor liability, vicarious liability, fraudulent transfer, or conspiracy, upon which any
of the CIRCOR Related Parties or Watts Related Parties are liable, or are allegedly liable,
arising out of, resulting from, or relating to directly or indirectly, death, bodily injury,
sickness, disease, or other personal injury, physical, emotional or otherwise, to persons,
caused, or allegedly caused, directly or indirectly, by acts, omissions, business,
operations, or products of Leslie (including the acts, omissions, business, or operations of
any other Entity for whose product or operations Leslie has actual or alleged liability, to

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the extent of Leslie’s actual or alleged liability for such acts, omissions, business, or
operations, and any acts or omissions that constituted or may have constituted ordinary or
gross negligence or reckless, willful, or wanton misconduct of Leslie or any other Entity
for whose products or operations Leslie has liability or is alleged to have liability, or any
conduct for which Leslie, or any other Entity for whose products or operations Leslie has
liability or is alleged to have liability, may be deemed to have strict liability under any
applicable law) and all related claims, debts, obligations, or liabilities for compensatory
damages (such as loss of consortium, medical monitoring personal or bodily injury,
wrongful death, survivorship, proximate, consequential, general, punitive, and special
damages). For purposes of this definition, “veil piercing, alter ego, successor liability,
vicarious liability, fraudulent transfer, or conspiracy” claims shall include, but not be
limited to, (a) fraudulent transfer or fraudulent conveyance claims under applicable state
or federal law, (b) denuding the corporation claims, (c) continuation of business
enterprise claims, (d) single business enterprise claims, (e) claims that Leslie was the
predecessor, (D mere instrumentality, agent or alter ego of any of the CIRCOR Related
Parties or Watts Related Parties, (g) trust fund claims, (h) claims that any of the CIRCOR
Related Parties or Watts Related Parties conspired with Leslie, and (i) any causes of
action against any of the CIRCOR Related Parties or Watts Related Parties that belong to
the Debtor or Debtor in Possession, whether or not included in the foregoing list,

1.66. DIP Agreement means the credit agreement to be entered into after the
Commencement Date by and between Leslie and ClRCOR, as may be modified or
amended by the parties or order of the Bankruptcy Court.

1.67. DIP Claim means any claim of the DIP Lender arising out of the DlP
Agreement.

1.68. DIP Lender means the lender under the DlP Agreement.

1.69. Disallowed means, when used with respect to a Claim against Leslie,
other than an Asbestos PI Claim, a Claim that: (a) is disallowed in whole or in part (but
solely to the extent of such disallowance) by Final Order; or (b) has been withdrawn, in
whole or in part, by the holder thereof

1.70. Disclosure Statement means the written disclosure statement that relates
to the Plan, including the exhibits and schedules thereto, as approved by the Bankruptcy
Court after the Commencement Date as containing adequate information pursuant to
section 1125 of the Bankruptcy Code and Rule 3017 of the Bankruptcy Rules, as such
disclosure statement may be amended, modified, or supplemented from time to time.

1.71. Disputed Claim means a Claim against Leslie, other than an Asbestos PI
Claim, or any portion thereof, that is neither Allowed nor Disallowed or is contingent,
disputed or unliquidated

1.72. Distribution Record Date means the record date for determining an
entitlement to receive Distributions under the Plan on account of Allowed Claims, Which
shall be the Confirmation Date.

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1.73. Distribution means any: (a) Cash; (b) property; or (c) interest in property
to be paid or distributed hereunder to the holders of Allowed Claims or Equity lnterests,
not including the Asbestos PI Claims.

1.74. District Court means the United States District Court for District of
Delaware.

1.75. Effective Date means a date selected by the Debtor, Which date shall be
on or as soon as practicable after the first Business Day on which all conditions to the
consummation of the Plan set forth in Section 12.2 have been satisfied or waived

1.76. Encumbrance means, with respect to any property (whether real or
personal, or tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property (including
any conditional sale or other title retention agreement, any security agreement, and the
filing of, or agreement to give, any financing statement under the Uniform Commercial
Code or comparable law of any jurisdiction) to secure payment of a debt or performance
of“an obligation.

1.77. Entity means any person "or organization created by law, including,
without limitation, any individual, company, corporation, limited liability company,
partnership, association, joint stock company, joint venture, estate, trust, unincorporated
organization, or government or any political subdivision thereof,

1.78. Equity Interest means any right, title and interest in Leslie existing as of
the Petition Date.

7 1.79. Estate means the estate created under section 541 of the Bankruptcy Code
in the Chapter 11 Case,

1.80. Executory Contract means any unexpired lease or executory contract of
Leslie that is subject to treatment under section 365 of the Bankruptcy Code.

1.81. Final .]udgment 0r Final Order means a judgment or an order, as the
case may be, as to which the time to appeal, petition for certiorari, or move for
reargument or rehearing has expired and as to which no appeal, petition for certiorari or
other proceedings for reargument or rehearing shall then be pending; provided, however,
that if an appeal, writ of certiorari, reargument or rehearing thereof has been filed or
sought; (a)(i) such judgment or order shall have been affirmed by the highest court to
which such judgment or order was appealed; or (ii) certiorari shall have been denied or
reargument or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for
reargument or rehearing shall have expired; or (b) such appeal, writ of certiorari, or
request for reargument or rehearing shall have been dismissed with prejudice by the filing
or seeking party.

1.82. Future Claimants’ Representative means James L. Patton, Jr. (or any
court-appointed alternative or successor), in his capacity as the court-appointed legal

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representative for all Future Demand Holders pursuant to section 524(g) of the
Bankruptcy Code for the purpose of protecting their interests.

1.83. Future Demand Holder means a holder of a Demand whether now
known or hereafter discovered

1.84. General Unsecured Claim means a claim against Leslie that is not
secured by a valid and enforceable Lien against property of Leslie and that is not an
Administrative Expense Claim, a Priority Claim, a DIP Claim, a Priority Tax Claim, an
Intercompany Claim or an Asbestos Pl Claim.

1.85. Impaired means, when used with respect to a Claim or an Equity Interest,
a Claim or Equity lnterest that is impaired within the meaning of section 1124 of the
Bankruptcy Code.

1.86. lndirect Asbestos PI Claim means those Cross-claims, contribution
claims, subrogation claims, reimbursement claims, indemnity claims, and other similar
derivative or indirect Claims, Demands, or allegations against Leslie, any Settling
Insurer, or any other Asbestos Protected Party whether or not any such Claim, Demand
debt, liability or obligation is reduced to judgment, liquidated unliquidated, fixed
contingent, matured, unmatured disputed, undisputed, legal, equitable, secured or
unsecured Whether or not the facts of or legal bases therefore are known or unknown,
and whether in the nature of or sounding in tort, or under contract or implied by law (as
defined by the-applicable nonbankruptcy law of the relevant jurisdiction), warranty,
guarantee, contribution, joint and several liability, subrogation, reimbursement, or
indemnity, or any other theory of law, equity, or admiralty for, arising out of, resulting
from, or relating to directly or indirectly, death, bodily injury, sickness, disease, or other
personal or emotional injuries to persons caused, or allegedly caused directly or
indirectly, by the presence of, or exposure to, asbestos - including asbestos-containing
products, equipment, components, parts, improvements to real property, or materials
engineered designed marketed manufactured fabricated constructed sold supplied
produced installed maintained serviced specified selected repaired removed
replaced released, distributed or in any way used by Leslie or any Entity for whose
products or operations Leslie has liability or is alleged to have liability - to the extent
arising, directly or indirectly from acts, omissions, business or operations of Leslie
(including the acts, omissions, business or operations of any other Entity for whose
products or operations Leslie has liability, to the extent of Leslie’s liability for such acts,
omissions, business, or operations) (including any acts or omissions that constituted or
may have constituted ordinary or gross negligence or reckless, willful, or wanton
misconduct of Leslie or any other Entity for whose products or operations Leslie has
liability or is alleged to have liability or any conduct for which Leslie, or any other Entity
for whose products or operations Leslie has liability or is alleged to have liability, may be
deemed to have strict liability under any applicable law) including claims, debts,
obligations, or liabilities for compensatory damages, loss of consortium, medical
monitoring, personal or bodily injury, wrongful death, survivorship, proximate,
consequential, general, and special damages

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1.87. Insurance Settlement Agreement means any of the agreements listed on
the annexed Exhibit F, as such exhibit may be amended supplemented or otherwise
modified by Leslie from time to time prior to the Confirmation Date.

1.88. Insurer Contribution Claim means any claim, cause of action, cross-
claim, contribution claim, subrogation claim, reimbursement claim, indemnity claim, or
other similar claims, demands, or allegations asserted or to be asserted by any Asbestos
Insurance Entity against the Asbestos PI Trust, Leslie, Reorganized Leslie, or another
Asbestos Insurance Entity, whether in the nature of or sounding in tort, or under contract,
warranty, guarantee, contribution, joint and several liability, subrogation, reimbursement,
or indemnity, or any other theory of law, equity, or admiralty, arising out of, resulting
from, or relating to, directly or indirectly, any Asbestos PI lnsurance Contract,

1.89. Intercompany Claim means any General Unsecured Claim held by an
Affiliate of Leslie against Leslie or by Leslie against an Affiliate of Leslie.

1.90. Leslie means Leslie Controls, Inc., a Delaware corporation, and its
predecessors

1.91. Leslie Affiliate means each of the Entities listed on Schedule 2 hereto, as
may be amended from time to time prior to the Effective Date with the consent of
CIRCOR, the Asbestos Claimants Committee, and the Future Claimants’ Representative,
with such consent not to be unreasonably withheld

1.92. Leslie Asbestos PI Claim means any Claim, Demand or allegation or
portion thereof against, or any debt, liability, or obligation of, Leslie or any other
Asbestos Protected Party, whether now existing or hereafter arising, whether in the nature
of or sounding in tort, or under contract, warranty, or any other theory of law, equity, or
admiralty for, arising out of, or resulting from, directly or indirectly, death, bodily injury,
sickness, disease, or any other actual or alleged personal injury, physical, emotional or
otherwise, to persons, caused, or allegedly caused, directly or indirectly, by the presence
of, or exposure to asbestos_including, without limitation, asbestos-containing products,
equipment, components, parts, improvements to real property, or materials engineered
designed marketed manufactured fabricated constructed sold supplied produced
installed maintained serviced specified selected repaired removed replaced released,
distributed or in any other way used by Leslie or any other Entity for whose products or
operations Leslie has liability or is alleged to have liability - to the extent arising, directly
or indirectly, from acts, omissions, business, or operations of Leslie (including the acts,
omissions, business, or operations of any other Entity for whose products or operations
Leslie has liability, to the extent of Leslie’s liability for such acts, omissions, business, or
operations) (including any acts or omissions that constituted or may have constituted
ordinary or gross negligence or reckless, willful, or wanton misconduct of Leslie or any
other Entity for whose products or operations Leslie has liability or is alleged to have
liability, or any conduct for which Leslie, or any other Entity for whose products or
operations Leslie has liability or is alleged to have liability, may be deemed to have strict
liability under any applicable law) including all related claims, debts, obligations, or
liabilities for compensatory damages (such as loss of consortium, medical monitoring

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personal or bodily injury, wrongful death, survivorship, proximate, consequential,
general, and special damages). Notwithstanding the foregoing a Claim, Demand
allegation, debt, liability or obligation shall only be a Leslie Asbestos Pl Claim to the
extent of Leslie’s liability for that Claim, Demand allegation, debt, liability or obligation.
For the purpose of this definition, Leslie Asbestos Pl Claim does not include any Claim
by any present or former employee of the Debtor for benefits under a policy of workers’
compensation insurance or for benefits under any state or federal workers’ compensation
statute or other statute providing compensation to an employee from an employer.

1.93. Leslie Contribution means, collectively, contributions by Leslie or
Reorganized Leslie to the Asbestos PI Trust, on account of Asbestos PI Claims, of the
following

(a) the Leslie Promissory Note; and
(b) an assignment of any and all rights of Leslie:

(i) to proceeds under existing insurance policies that provide
coverage for Asbestos Personal Injury Claims; and

(ii) to $2,625,000 of the proceeds of the Insurance Settlement
Agreement between Leslie and Continental Casualty Company dated April 19, 2010, plus
the proceeds, if any, of any other lnsurance Settlement Agreement that were received by
Leslie on or after January 1, 2010.

1.94. Leslie Promissory Note means that certain Promissory Note of
Reorganized Leslie, secured by the CIRCOR Pledge, to be entered into as of the Effective
Date between Reorganized Leslie and the Asbestos PI Trust in substantially the same
form annexed hereto as Exhibit D for the payment of a principal amount of $1 million,
with interest payable in equal quarterly installments, and such other agreements,
instruments or documents relating thereto.

1.95. Leslie Related Parties means: (a) Leslie or Reorganized Leslie; (b) any
Leslie Affiliate; (c) any predecessor in interest to Leslie, Reorganized Lenders or a Leslie
Affiliate; and (d) any Entity that owned or owns a financial interest in Leslie,
Reorganized Leslie, a Leslie Affiliate or the predecessors in interest of each.

1.96. Lien means any charge against or interest in property to secure payment of
a debt or performance of an obligation,

1.97. Liquidate means to determine a payable value for an Asbestos PI Claim
in accordance with the provisions governing the Asbestos Pl Trust, but not to pay such a
claim.

1.98. Non-Debtor Released Parties means each of the following: (a) the Ad
Hoc Committee; (b) the Asbestos Claimants Committee; (c) the CIRCOR Related
Parties; (d) the Watts Related Parties; (e) the DlP Lender; (f) the Pre-Petition Future
Claimants’ Representative; (g) the Future Claimants’ Representative; (h) the Asbestos

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Protected Parties; (i) any current or former Representative of each of the foregoing and (j)
for each of the foregoing Entities, such Entity’s current and former principals, employees,
agents, officers, directors, financial advisors, attorneys, investment bankers, accountants,
consultants and other professionals, agents and any of their successors and assigns.

1.99. Payment Percentage means the percentage of the liquidated value that
holders of Asbestos PI Claims will be entitled to receive from the Asbestos PI Trust
pursuant to the Asbestos PI Trust Distribution Procedures.

1.100. Plan means this plan of reorganization of Leslie under Chapter 1 1 of the
Bankruptcy Code, including any supplements, schedules and exhibits hereto, either in its
present form or as the same may be amended modified or supplemented from time to
time in accordance with the terms hereof

1.101. Plan Contributors means, collectively, (a) CIRCOR, on behalf of itself,
the other CIRCOR Related Parties, and the Watts Related Parties, and (b) Leslie.

1.102. Plan Documents means, collectively, (a) the Disclosure Statement, (b)
any document contained in the Plan Supplement, (c) all of the exhibits and schedules
attached to the Plan, the Disclosure Statement and/or the Plan Supplement and (d) any
other document necessary to implement the Plan,

1.103. Plan Supplement means the compilation of documents or forms of
documents specified in the Plan, including but not limited to, the documents specified in
Section 14.3 below and any exhibits to the Plan not included herewith, each in form and
substance acceptable to Leslie and CIRCOR, which Leslie shall file with the Bankruptcy
Court on or before the date that is ten (10) Business Days prior to the deadline for the
filing and service of objections to the Plan, all of which are incorporated herein by
reference

1.104. Pledge Agreement means that certain pledge agreement that will be
executed on the Effective Date by and among C[RCOR, Reorganized Leslie and the
Asbestos PI Trust, substantially in the form annexed hereto as Exhibit E.

1.105. Post-Confirmation Settling Asbestos Insurance Entity means any
Asbestos lnsurance Entity that enters into an insurance settlement agreement after the
Confirmation Date that the Asbestos Pl Trust determines, in its sole and absolute
discretion, in writing is sufficiently comprehensive to warrant that such Asbestos
Insurance Entity receive the protections provided under section 524(g) of the Bankruptcy
Code.

1.106. Preliminary Injunction Order means an order granting an injunction
pursuant to sections 105(a) and 362(a) of the Bankruptcy Code and Rule 7065 of the
Bankruptcy Rules enjoining all asbestos-related Derivative Liability Asbestos PI Claims
against any of the CIRCOR Related Parties or Watts Related Parties.

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1.107. Pre-Petition Future Claimants’ Representative means James L. Patton,
Jr., who served as the representative of Future Demand Holders prior to the
Commencement Date.

1.108. Priority Claim means any Claim entitled to priority pursuant to section
507 of the Bankruptcy Code other than an Administrative Expense Claim, a DlP Claim,
or a Priority Tax Claim.

1.109. Priority Tax Claim means any Claim entitled to priority pursuant to
section 507(a)(8) of the Bankruptcy Code.

1.110. Professional means any person retained or to be compensated pursuant to
section 327, 328, 330, 503(b), 506(b), 524(g) or 1 103 of the Bankruptcy Code, including
the Future Claimants’ Representative and any Entity retained thereby.

1.111. Proof of Claim means any proof of claim or interest filed with the
Bankruptcy Court or the Claims and Balloting Agent pursuant to Bankruptcy Code
section 501 and Rule 3001 or 3002 of the Bankruptcy Rules that asserts a Claim against
or Equity lnterest in Leslie,

1.112. Rejection Claim means any Claim for damages under section 502(g) of
the Bankruptcy Code resulting from the rejection of an executory contract or unexpired
lease by Leslie or Reorganized Leslie.

1.113. Released Parties means, collectively, the Debtor Released Parties and the
Non-Debtor Released Parties.

1.114. Reorganized Leslie means Leslie, or any successor thereto by merger,
consolidation, or otherwise, on and after the Effective Date.

1.115. Reorganized Leslie C0mm0n Stock means all of the issued and
outstanding shares of common stock of Reorganized Leslie to be deemed authorized and
issued under Article IX. of the Plan.

1.116. Representative means, with respect to any specified Entity, any current or
former officer, director, employee, agent, attorney, accountant, financial advisor, other
representative or any person who controls any of these within the meaning of the
Securities Act of 1933, as amended or the Securities Exchange Act of 1934, as amended

1.117. Schedules means, the schedules of assets and liabilities and the statements
of financial affairs of Leslie as filed with the Bankruptcy Court by Leslie on August ll,
2010 in accordance with section 521 of the Bankruptcy Code, as such schedules and
statements may be amended or supplemented from time to time.

1.118. Secured Claim means a Claim that is: (a) secured by a valid duly
perfected non-avoidable security interest in the interest of Leslie in property, to the
extent of the value, as of the Effective Date or such other date as is established by the
Bankruptcy Court, of such Claimholder’s interest in Leslie’s interest in such property, as

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determined by a Final Order of the Bankruptcy Court pursuant to section 506(a) of the
Bankruptcy Code or as otherwise agreed in writing by Leslie and the Claimholder; or (b)
secured by the amount of any valid non-avoidable rights of setoff of the holder thereof
under section 553 of the Bankruptcy Code.

1.119. Settling Asbestos Insurance Entity means any Asbestos Insurance Entity
that has entered into an Insurance Settlement Agreement prior to the Confirmation Date
if: (a) such Insurance Settlement Agreement provides that (i) Leslie agreed to seek the
protections under section 524(g) of the Bankruptcy Code for such Asbestos lnsurance
Entity or (ii) Leslie agreed to indemnify such Asbestos lnsurance Entity with respect to
any Asbestos PI Claim that may be channeled to the Asbestos PI Trust; (b) the proceeds
of such Insurance Settlement Agreement are included in the Leslie Contribution to be
contributed to the Asbestos PI Trust on the Effective Date; and (c) such lnsurance
Settlement Agreement is sufficiently comprehensive to warrant that such Asbestos
lnsurance Entity receive treatment under section 524(g) of the Bankruptcy Code. Any
Insurance Settlement Agreement agreed to after June 25, 2010 and prior to the
Confirmation Date must be in form and content acceptable to the Asbestos Claimants
Committee and the Future Claimants’ Representative,

1.120. Settling Insurer means any Asbestos Insurance Entity that is either a
Settling Asbestos Insurance Entity or a Post-Confirmation Settling Asbestos lnsurance
Entity.

1.121. Solicitation Procedures Order means the Order (I) Approviiig the
Adequacy of the Disclosure Statement; (II) Approving the Procedures to Solicit
Acceptances of the Proposed Plan; (III) Scheduling a Confirmation Hearing and (IV)
Establishing Notice and Objection Procedures for Confirmation of the Proposed Plan,
entered by the Bankruptcy Court on August 19, 2010.

1.122. Trust Distribution Effective Date means a date selected by the Debtor,
which date shall be on or as soon as practicable after the first Business Day on which all
conditions to the consummation of the Plan set forth in Section 12.3 have been satisfied
or waived

1.123. Unimpaired means a Claim or Equity Interest, or a Class of Claims or
Equity Interests, as appropriate, that is not lmpaired under the Plan,

1.124. United States Trustee means the United States Trustee appointed under
section 591 of title 28 of the United States Code to serve in the District of Delaware.

1.125. Watts means Watts Water Technologies, Inc., a Delaware corporation,
formerly known as Watts lndustries, Inc.

1.126. Watts Affiliate means each of the Entities listed on Schedule 3 hereto, as
may be amended at any time prior to the Effective Date with the consent of CIRCOR, the
Asbestos Claimants Committee, and the Future Claimants’ Representative, with such
consent not to be unreasonably withheld

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1.127. Watts Related Parties means: (a) Watts; (b) any Watts Affiliate; (c) any
predecessor in interest to Watts or a Watts Affiliate; and (d) any Entity that owned or
owns a financial interest in Watts, a Watts Affiliate or their predecessors

ARTICLE II.
ADMINISTRATIVE EXPENSE, PRIORITY TAX AND DIP CLAIMS

2.1. Allowed Administrative Expense Claims. Except to the extent that a
holder of an Allowed Administrative Expense Claim agrees to a different treatment, or as
otherwise provided for in the Plan, in full satisfaction, settlement and discharge of and in
exchange for such Claims, Leslie or Reorganized Leslie shall pay each Allowed
Administrative Expense Claim in full and in Cash on, or as soon thereafter as is
reasonably practicable, the latest of: (a) the Effective Date; (b) the first Business Day
after the date that is thirty (30) calendar days after the date the Administrative Expense
Claim becomes an Allowed Administrative Expense Claim; and (c) the date the Allowed
Administrative Expense Claim becomes due and payable according to its terms; provided
however, that the Allowed Administrative Expense Claims representing liabilities
incurred by the Debtor in Possession in the ordinary course of business or liabilities under
loans or advances to or other obligations incurred by the Debtor in Possession may be
paid by Leslie in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any agreements governing
instruments evidencing or other documents relating to such transactions

Reorganized Leslie, in its sole and absolute discretion, may settle Administrative
Expense Claims in the ordinary course of business without further Bankruptcy Court approval.
Leslie or Reorganized Leslie shall have the right to object to any Administrative Expense Claim
by the later of: (a) 180 days after the Effective Date, subject to such extensions as may be
granted from time to time by the Bankruptcy Court; and (b) 30 days after the date such
Administrative Expense Claim is filed Unless Leslie or Reorganized Leslie timely objects to an
Administrative Expense Claim, such Claim shall be deemed Allowed in the amount requested
In the event that Leslie or Reorganized Leslie timely objects to an Administrative Expense
Claim, the parties may confer to try to reach a settlement and failing that, the Bankruptcy Court
shall determine whether such Administrative Expense Claim should be Allowed and if so, in
what amount.

All entities seeking awards by the Bankruptcy Court of compensation for services
rendered or reimbursement of expenses incurred through and including the Effective Date under
sections 330 or 503 of the Bankruptcy Code shall (a) file, on or before the deadline specified in
the Confirmation Order, their respective applications for final allowance of compensation for
services rendered and reimbursement of expenses incurred and (b) be paid in full, in Cash, in
such amounts as are Allowed by the Bankruptcy Court (i) upon the later of (A) the Effective
Date and (B) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; or (ii)
upon such other terms as may be mutually agreed upon by such holder and Reorganized Leslie,
Reorganized Leslie is authorized to pay compensation for Professional services rendered and

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reimbursement of expenses incurred after the Effective Date in the ordinary course of business
and without the need for Bankruptcy Court approval

2.2. Priority Tax Claims. Except to the extent that the holder of an Allowed
Priority Tax Claim has been paid by Leslie prior to the Effective Date or agrees to a
different treatment, each holder of an Allowed Priority Tax Claim, if any, shall, in
accordance with section l 129(a)(9)(C) of the Bankruptcy Code, receive in full
satisfaction, settlement and discharge of and in exchange for such Allowed Priority Tax
Claim, either of the following at the sole and absolute discretion of Reorganized Leslie:
(a) Cash in an amount equal to the unpaid portion of such Allowed Priority Tax Claim,
on the later of: (i) the Effective Date; (ii) the date such Priority Tax Claim becomes an
Allowed Claim, or as soon thereafter as is practicable; and (iii) the date such Allowed
Priority Tax Claim becomes due and payable under applicable non-bankruptcy law; or (b)
regular installment payments in Cash (i) of a total value, as of the Effective Date, equal to
the allowed amount of such Priority Tax Claim; (ii) over a period ending not later than
five (5) years after the Effective Date; and (iii) in a manner not less favorable than the
most favored nonpriority General Unsecured Claim provided for by the Plan (other than
cash payments made to a class of creditors under section 1122(b)).

2.3. DIP Claim. Except to the extent that a holder of an Allowed DlP Claim
agrees to a different treatment, each Allowed DIP Claim shall be paid in full in Cash on
the Effective Date.

ARTICLE III.
CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
classes of Claims against and Equity lnterests in Leslie,

3.1. Classification. The categories of Claims and Equity lnterests listed
below, other than Administrative Expense Claims, Priority Tax Claims and the DlP
Claim, are classified for all purposes including voting confirrnation, and distribution
pursuant to the Plan, as follows:

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Class Designation Impairment Entitled to Vote
Class 1 Priority Claims Unimpaired No (conclusively presumed to
accept)
Class 2 Secured Claims Unimpaired No (conclusively presumed to
accept)
Class 3 General Unsecured Unimpaired No (conclusively presumed to
Claims accept)
Class 4 Asbestos PI Claims Impaired Yes
Class 5 Intercompany Unimpaired No
Claims
Class 6 Equity lnterests in Unimpaired No
Leslie
ARTICLE IV.

TREATMENT OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

4.1. Class 1 - Priority Claims. Except to the extent a holder of an Allowed
Priority Claim has been paid prior to the Effective Date or agrees to a different treatment,
each holder of an Allowed Priority Claim shall receive in full satisfaction, settlement and
discharge of and in exchange for such Priority Claim, Cash in an amount equal to the `
unpaid portion of such Allowed Priority Claim on or before the later of: (a) the Effective
Date; and (b) the date the Priority Claim becomes an Allowed Priority Claim, or as soon
thereafter as practicable All Allowed Priority Claims not due and payable on or before
the Effective Date shall be paid in the ordinary course of business in accordance with the
terms thereof

Class 1 is Unimpaired under the Plan, Each holder of a Priority Claim is deemed to have
accepted the Plan and is therefore not entitled to vote to accept or reject the Plan,

4.2. Class 2 - Secured Claims. Except to the extent a holder of a Secured
Claim agrees to different treatment of that Claim, each holder of an Allowed Secured
Claim shall have such Claim reinstated pursuant to section 1124(2) of the Bankruptcy
Code such that the Claim is rendered Unimpaired The failure of Leslie or any other
party in interest to file an objection, prior to the Effective Date, with respect to any
Secured Claim that is reinstated hereunder shall be without prejudice to the rights of
Reorganized Leslie or any other party in interest to contest or otherwise defend against
such Secured Claim in an appropriate forum when and if such Secured Claim is sought to
be enforced Any amount that Leslie may be required to pay pursuant to section 1124(2)
of the Bankruptcy Code on account of any such reinstated Allowed Secured Claim shall
be paid in full, in Cash, on, or as soon as practicable after, the later of (a) the Effective

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Date; (b) the date on which such Secured Claim becomes an Allowed Secured Claim; (c)
the date such Secured Claim becomes due and payable according to its terms; or (d) such
other date as mutually may be agreed to by and among the holder of such Secured Claim
and Leslie or Reorganized Leslie For the avoidance of doubt, Class 2 - Secured Claims
includes the CIRCOR Secured Claim.

Class 2 is Unimpaired under the Plan, Each holder of a Secured Claim is deemed to have
accepted the Plan and is therefore not entitled to vote to accept or reject the Plan.

4.3. Class 3 - Allowed General Unsecured Claims. Except to the extent a
holder of an Allowed General Unsecured Claim agrees to different treatment of that
General Unsecured Claim, each holder of an Allowed General Unsecured Claim shall
have such General Unsecured Claim reinstated pursuant to section 1124(2) of the
Bankruptcy Code such that the General Unsecured Claim is rendered Unimpaired and, as
a result, such treatment leaves unaltered the legal, equitable and contractual rights to
which such Allowed General Unsecured Claim entitles the holder of such Claim. The
failure of Leslie or any other party in interest to file an objection, prior to the Effective
Date, with respect to any General Unsecured Claim that is reinstated hereunder shall be
without prejudice to the rights of Reorganized Leslie or any other party in interest to
contest or otherwise defend against such General Unsecured Claim in an appropriate
forum when and if such General Unsecured Claim is sought to be enforced Any amount
that Leslie may be required to pay pursuant to section 1 124(2) of the Bankruptcy Code on
account of any such reinstated Allowed General Unsecured Claim shall be paid in full, in
Cash, on, or as soon as practicable after, the latest of: (a) the Effective Date; (b) the date
on which such General Unsecured Claim becomes an Allowed General Unsecured Claim;
(c) the date such General Unsecured Claim becomes due and payable according to its
terms; or (d) such other date as mutually may be agreed to by and among the holder of
such General Unsecured Claim and Leslie or Reorganized Leslie,

Class 3 is Unimpaired under the Plan. Each holder of a General Unsecured Claim is
deemed to have accepted the Plan and is therefore not entitled to vote to accept or reject the Plan,

4.4. Class 4 - Asbestos PI Claims and Asbestos PI Trust Expenses. As of
the Effective Date, liability for all Asbestos Pl Claims shall automatically, and without
further act, deed or court order, be channeled exclusively to and assumed by the Asbestos
Pl Trust in accordance with, and to the extent set forth in, Articles IX and XI below, the
applicable Plan Documents and the Confirmation Order, Each Asbestos PI Claim shall
be resolved after the Trust Distribution Effective Date, in accordance with the terms,
provisions and procedures of the Asbestos Pl Trust Agreement and the Asbestos PI Trust
Distribution Procedures. The Asbestos PI Trust shall be funded in accordance with the
provisions of Section 9.3 below. The sole recourse of the holder of an Asbestos PI Claim
on account of such Asbestos PI Claim shall be to the Asbestos Pl Trust and each such
holder shall have no right Whatsoever at any time to assert its Asbestos PI Claim against
any Asbestos Protected Party.

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As of the Effective Date, liability for all Asbestos Trust Expenses shall automatically,
and without further act, deed or court order, be assumed by the Asbestos Pl Trust and resolved in
accordance with the terms, provisions and procedures of the Asbestos PI Trust Agreement.

Class 4 is lmpaired under the Plan, Each holder of an Asbestos PI Claim shall be entitled
to vote to accept or reject the Plan to the extent and in the manner provided in Article V below
and in the Solicitation Procedures Order.

4.5. Class 5 - Intercompany Claims. On or as soon as practicable after the
Effective Date, all Intercompany Claims will either be reinstated to the extent determined
to be appropriate by Leslie or Reorganized Leslie or adjusted continued or capitalized
either directly or indirectly, in whole or in part. Any such transaction may be effected on
or subsequent to the Effective Date Without any further action by the Bankruptcy Court.

Class 5 is Unimpaired under the Plan. Each holder of an Intercompany Claim is deemed
to have accepted the Plan and is therefore not entitled to vote to accept or reject the Plan

4.6. Class 6 - Equity Interests. On the Effective Date, the holder of Equity
lnterests in Leslie shall retain its Equity lnterests which shall become Reorganized Leslie
Common Stock as of the Effective Date. The Reorganized Leslie Common Stock will be
pledged to the Asbestos PI Trust by CIRCOR pursuant to the Pledge Agreement and held
by the Asbestos PI Trust until such time as the Leslie Promissory Note is paid in full.

Class 6 is Unimpaired under the Plan, The holder of the Equity lnterests is deemed to
have accepted the Plan and is therefore not entitled to vote to accept or reject the Plan.

ARTICLE V.

ACCEPTANCE OR RE.]ECTION OF PLAN; EFFECT OF
REJECTION BY ONE OR MORE CLASSES OF CLAIMS OR EQUITY INTERESTS

5.1. Classes Entitled to Vote. Except as set forth below, each holder of an
Allowed Claim, and each holder of a Claim that has been temporarily allowed for voting
purposes including each holder of an Asbestos PI Claim, in each lmpaired Class of
Claims shall be entitled to vote separately to accept or reject the Plan unless such
Impaired Class shall receive no distribution under the Plan, in which case, such lmpaired
Class shall be deemed to reject the Plan and shall not be entitled to vote to accept or
reject the Plan.

Any holder of a Claim in an Unimpaired Class of Claims shall not be entitled to vote to
accept or reject the Plan,

5.2. Class Acceptance Requirement. Acceptance of the Plan by any
Impaired Class of Claims shall be determined in accordance with section 1126 of the
Bankruptcy Code and the terms of the Solicitation Procedures Order. With respect to
Class 4, acceptance of the Plan shall also be determined in accordance with section
524(g) of the Bankruptcy Code.

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5.3. Issuance of Injunction Pursuant to Section 524(g) of the Bankruptcy
Code. The Bankruptcy Court shall be asked to issue the Asbestos PI Channeling
Injunction if the Plan has been accepted by at least two-thirds (2/3) in amount of those
holders of Class 4 Claims actually voting on the Plan, in accordance with section 1126(c)
of the Bankruptcy Code, and seventy-five percent (75%) in number of those holders of
Class 4 Claims actually voting on the Plan, in accordance with section
524(g)(2)(B)(ii)(lV)(bb) of the Bankruptcy Code.

5.4. Acceptance by Unimpaired Classes. Class 1 (Priority Claims), Class 2
(Secured Claims), Class 3 (General Unsecured Claims), Class 5 (Intercompany Claims)
and Class 6 (Equity lnterests) are Unimpaired under the Plan and are conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, solicitation of votes of holders of Claims in Class 1, Class 2, Class 3, Class 5
and Class 6 is not required

ARTICLE VI.

DISTRIBUTIONS UNDER THE PLAN ON ACCOUNT
OF CLAIMS OTHER THAN ASBESTOS PI CLAIMS

6.1. Distributions Other than with respect to distributions to be made to
Asbestos PI Claims from the Asbestos PI Trust, Reorganized Leslie shall make all
Distributions required to be made under the Plan as provided under this Article VI. All
distributions to be made on account of Asbestos PI Claims shall be made in accordance
with the terms of the Asbestos PI Trust Agreement and the Asbestos PI Trust Distribution
Procedures, subject to the conditions for the Trust Distribution Effective Date as set forth
in Section 12.3 having been previously satisfied

6.2. Date of Distributions Except as otherwise provided herein, any
Distributions and deliveries to be made hereunder on account of Allowed Claims or
Equity lnterests (other than Asbestos PI Claims) shall be made on the Effective Date or
as soon thereafter as is practicable In the event that any payment or act under the Plan is
required to be made or performed on a date that is not a Business Day, then the making of
such payment or the performance of such act may be completed on or as soon as
reasonably practicable after the next succeeding Business Day, but shall be deemed to
have been completed as of the required date

6.3. Postpetition Interest on Claims. Unless expressly provided for in the
Plan, the Plan Documents and the Confirmation Order, or any contract, instrument,
release, settlement or other agreement entered into in connection with the Plan, or unless
required by applicable bankruptcy law (includin g the fair and equitable rule), interest
shall not accrue on or after the Commencement Date on account of any Claim.

6.4. Means of Cash Payment. At the option of the Debtor, any Cash payment
to be made hereunder may be made by a check or wire transfer or as otherwise required
or provided in any applicable agreement

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6.5. Delivery of Distributions Subject to Bankruptcy Rule 9010, all
Distributions to any holder of an Allowed Claim or Equity Interest shall be made at the
address of such holder as set forth on the Schedules filed as may be required with the
Bankruptcy Court, or on the books and records of Leslie or its agents, or in a letter of
transmittal, unless Leslie has been notified in writing of a change of address

If any holder’s Distribution is returned as undeliverable, then no further Distributions to
such holder shall be made unless and until Reorganized Leslie is notified of such holder’s then-
current address, at which time all missed Distributions shall be made to such holder without
interest. A Cash Distribution that is not claimed by the expiration of six (6) months from the
date that such Distribution was made shall be deemed unclaimed property under section 347(b)
of the Bankruptcy Code and shall revest in Reorganized Leslie, and the Claim of any holder to
such Distributions shall be discharged and forever barred Nothing contained in the Plan shall
require Leslie or Reorganized Leslie to attempt to locate any holder of an Allowed Claim.

6.6. Time Bar to Cash Payments. Checks issued by Reorganized Leslie in
respect of Distributions on Allowed Claims shall be null and void if not presented for
payment within sixty (60) days after the date of issuance thereof Requests for reissuance
of any check shall be made in writing to Reorganized Leslie by the holder of the Allowed
Claim to whom such check originally was issued on or before thirty (30) days after the
expiration of the sixty (60) day period following the date of issuance of such check.

After expiration of the thirty (30) day period all funds held on account of such void
check shall, in the discretion of Reorganized Leslie be used to satisfy the costs of
administering and fully consummating the Plan or Will become the property of
Reorganized Leslie, and the Claim of any holder to such Distributions shall be discharged
and forever barred

6.7. Record Date for Holders of Claims. Except as otherwise provided in a
Final Order of the Bankruptcy Court, the transferees of Claims that are transferred
pursuant to Rule 3001 of the Bankruptcy Rules on or prior to the Distribution Record
Date shall be treated as the holders of such Claims for all purposes, notwithstanding that
any period provided by Rule 3001 for objecting to such transfer has not expired by the
Distribution Record Date.

6.8. Distributions after Effective Date. Distributions made after the
Effective Date shall be deemed to have been made on the Effective Date. No interest
shall accrue or be payable on such Distributions.

6.9. Fractional Cents. Notwithstanding any other provision in the Plan to the
contrary, no payment of fractional cents will be made pursuant to the Plan. Whenever
any payment of a fraction of a cent under the Plan would otherwise be required the
actual Distribution made will reflect a rounding of such fraction to the nearest whole
penny (up or down), with fractions of more than half a penny being rounded up and
fractions of half of a penny or less being rounded down.

6.10. Setoff. Leslie or Reorganized Leslie may, but shall not be required to, set
off against any Claim (for purposes of determining the Allowed Amount of such Claim

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on which Distribution shall be made), any claims of any nature whatsoever that Leslie or
Reorganized Leslie may have against the holder of such Claim, and the failure to do so
shall not constitute a waiver or release by Leslie or Reorganized Leslie of any such
Claims that Leslie or Reorganized Leslie may have against the holder of such Claim.

ARTICLE VII.
TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

7.1. General Treatment. Leslie shall assume, as of the Effective Date, all
Executory Contracts to which Leslie is a party, except for: (a) the Executory Contracts
specifically listed in certain Schedules to the Plan Supplement, which shall either be
rejected or assumed and assigned respectively, as described therein; and (b) the
Executory Contracts specifically addressed herein or pursuant to a Final Order of the
Bankruptcy Court entered on or before the Effective Date. Leslie may, at any time on or
before the Effective Date, amend the Schedules to the Plan Supplement to delete
therefrom, or add thereto, any Executory Contract. Leslie shall provide notice of any
such amendment to the parties to the Executory Contract(s) affected thereby and to
parties on any master service list established by the Bankruptcy Court in the Chapter 11
Case. The fact that any contract or lease is listed in the Schedules to the Plan Supplement
shall not constitute or be construed to constitute an admission that such contract or lease
is an executory contract or unexpired lease within the meaning of section 365 of the
Bankruptcy Code or that Leslie or any successor in interest to Leslie (including
Reorganized Leslie) has any liability thereunder

The Confirmation Order shall constitute an order of the Bankruptcy Court approving
such: (a) rejections; (b) assumptions or (c) assumptions and assignments as the case may be,
pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

7.2. Cure of Defaults. Except to the extent that different treatment has been
agreed to by the non-Debtor party or parties to any Executory Contract to be assumed
(including any Executory Contract to be assumed and assigned) pursuant to Section 7.1
above, Reorganized Leslie shall, pursuant to the provisions of sections 1123(a)(5)(G) and
1123(b)(2) of the Bankruptcy Code and consistent with the requirements of section 365
of the Bankruptcy Code, within thirty (30) days after the Effective Date, file and serve a
pleading with the Bankruptcy Court listing the amount of the proposed Cure for each
such Executory Contract. The non-Debtor party or parties to each such Executory
Contract shall have fifteen (15) days from service of the Cure Notice to object to the
proposed Cure with respect to that Executory Contract. Within thirty (30) days after
service of any objection to the proposed Cure for an Executory Contract, Leslie shall: (a)
resolve such objection, which resolution shall not require approval of the Bankruptcy
Court; (b) schedule a hearing before the Bankruptcy Court to determine the proper Cure
for the Executory Contract; or (c) determine to reject the Executory Contract, and provide
notice thereof to the applicable non-Debtor party or parties which rejection shall be
deemed effective as of the day before the Effective Date.

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7.3. Bar to Rejection Damages. In the event that the rejection of an
Executory Contract by Leslie pursuant to the Plan results in damages to the non-Debtor
party or parties to such Executory Contract, a claim for such damages shall be forever
barred and shall not be enforceable against Leslie, Reorganized Leslie, or their respective
properties or interests in property, unless a Proof of Claim with respect to such damages
is filed with the Bankruptcy Court and served upon counsel for Leslie on or before (a) if
such Executory Contract is rejected pursuant to Sections 7.1 and 7.2 above, the later of:
(i) thirty (30) days after entry of the Confirmation Order; and (ii) thirty (30) days after the
non-Debtor party receives notice of the rejection of such Executory Contract pursuant to
Section 7.2 above; and (b) if such Executory Contract is rejected pursuant to a Final
Order of the Bankruptcy Court granting a motion filed by Leslie to reject that Executory
Contract, thirty (30) days after entry of such order.

7.4. Insurance Policies. With the exception of the Asbestos PI lnsurance
Contracts and lnsurance Settlement Agreements as described in Section 8.4 below, all of
the Debtor’s insurance policies and any agreements, documents or instruments relating
thereto, to the extent necessary, are treated as executory contracts under the Plan. On the
Effective Date, the Debtor shall be deemed to have assumed and assigned to the
Reorganized Debtor all insurance policies and any agreements, documents and
instruments relating to coverage of Claims covered by those insurance policies, subject to
all rights, remedies and defenses of the Debtor under any agreements, insurance policies
and applicable law.

7 .5. Compensation and Benef`it Plans and Treatment of Retiree and
Pension Benefits. Except as otherwise expressly provided in the Plan or in any contract,
instrument, release, indenture or other agreement or document entered into in connection
with the Plan, all of the Debtor’s programs plans agreements and arrangements relating
to employee compensation and benefits including programs plans agreements and
arrangements subject to sections 1114 and 1129(a)(13) of the Bankruptcy Code and
including without limitation, all savings plans retirement plans healthcare plans
disability plans severance plans incentive plans life, accidental death and
dismemberment insurance plans workers’ compensation plans remaining benefits under
the pension plan frozen in 2006 and employment, severance, salary continuation and
retention agreements entered into before the Petition Date and not since terminated will
be deemed to be, and will be treated as though they are, executory contracts that are
assumed under Section 7.1 of the Plan, and the Debtor’s obligations under such
programs plans agreements and arrangements will survive confirmation of the Plan,
except for executory contracts or plans that previously have been rejected are the subject
of a motion to reject or have been specifically waived by the beneficiaries of any plans or
contracts In addition, pursuant to the requirements of section 1129(a)(13) of the
Bankruptcy Code, the Plan provides for the continuation of payment by the Debtor of all
“retiree benefits,” as defined in section 1114(a) of the Bankruptcy Code, if any, at
previously established levels

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ARTICLE VIII.

PROCEDURES FOR RESOLVING AND TREATING
DISPUTED CLAIMS OTHER THAN ASBESTOS PI CLAIMS

8.1. Disputed Claims. All Disputed Claims against Leslie shall be subject to
the provisions of this Article VIII. All Asbestos Pl Claims shall be resolved by the
Asbestos PI Trust in accordance with Section 9.3 below, the Asbestos Pl Trust
Agreement and the Asbestos PI Trust Distribution Procedures Only the Asbestos PI
Trust will have the right to object to and/or resolve Asbestos PI Claims. All Asbestos PI
Claims must be submitted solely to the Asbestos PI Trust for payment, Which shall be in
accordance with the Asbestos PI Trust Distribution Procedures

8.2. Objection to Claims. Leslie or Reorganized Leslie, as the case may be,
shall be entitled to file objections to Claims that have been or properly should have been
brought in the Bankruptcy Court (other than Asbestos PI Claims), on or before the first
(lst) anniversary of the Effective Date (unless such day is not a Business Day, in which
case such deadline shall be the next Business Day thereafter), as the same may be
extended from time to time by the Bankruptcy Court, and shall be authorized to settle,
compromise withdraw or litigate to judgment such objections without further approval of
the Bankruptcy Court.

8.3. Payments and Distributions with Respect to Disputed Claims.
Notwithstandin g any other provision hereof, if any portion of a Claim (other than an
Asbestos PI Claim) is a Disputed Claim, no payment or Distribution provided for herein
shall be made on account of such Claim, unless and until such Claim becomes an
Allowed Claim.

8.4. Preservation of Insurance. Subject to the terms and provisions of
Section 10.4 of the Plan, as such provisions may be amended from time to time prior to
the Confirmation Date, nothing in the Plan, the Plan Documents or the Confirmation
Order, including the discharge and release of Leslie and the Asbestos Pl Channeling
Injunction, shall diminish, impair or otherwise affect the enforceability of any Asbestos
PI lnsurance Contract or any other insurance policy that may provide coverage for
Claims or Demands against Leslie; provided further, that all Asbestos Pl Insurance
Contracts and lnsurance Settlement Agreements shall be assumed by the Debtor and
assigned to the Reorganized Debtor as of the Effective Date and the Debtor shall assign
Asbestos lnsurance Actions and Asbestos lnsurance Rights to the Asbestos Pl Trust as
part of the Leslie Contribution.

8.5. Estimation of Claims. Leslie or Reorganized Leslie, as the case may be,
may at any time request that the Bankruptcy Court estimate any contingent, unliquidated
or Disputed Claim (not including any Asbestos PI Claims) for any reason pursuant to
section 502(c) of the Bankruptcy Code, regardless of whether Leslie previously objected
to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court will retain jurisdiction to estimate such Claim at any time, including
without limitation, during the pendency of litigation concerning any objection to any

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Claim or of any appeal relating thereto. Claims may be estimated and subsequently
compromised settled, withdrawn or otherwise resolved by any mechanism approved by
the Bankruptcy Court,

8.6. Preservation of Rights to Settle Claims. In accordance with section
1123(b) of the Bankruptcy Code, Leslie and Reorganized Leslie shall retain and may
enforce, sue on, settle, or compromise (or decline to do any of the foregoing) all Claims
(other than Asbestos PI Claims), rights, causes of action, suits and proceedings whether
in law or in equity, whether known or unknown, that Leslie or its estate may hold against
any Entity, without the necessity for Bankruptcy Court approval under Bankruptcy Rule
9019.

ARTICLE IX.
MEANS FOR IMPLEMENTATION OF THE PLAN

9.1. Generally. On the Confirmation Date, Leslie shall be empowered and
authorized to take or cause to be taken, prior to the Effective Date, all actions necessary
to enable it to implement the provisions of the Plan, including without limitation, the
creation of the Asbestos PI Trust, From and after the Effective Date, Reorganized Leslie
shall be governed pursuant to the Amended Certificate of Incorporation and Amended
By-Laws.

9.2. Transactions on the Effective Date.

(a) Immediately on the Effective Date, the following shall be deemed for all
purposes to have occurred simultaneously:

(i) the making of the CIRCOR Asbestos Pl Trust Contribution
and the Leslie Contribution to the Asbestos PI Trust;

(ii) the establishment of the Asbestos PI Trust; and

(iii) the vesting in the Asbestos Pl Trust of the Asbestos Pl

Trust Assets as more fully described in, and subject to the conditions set forth in, Section
9.3 below.

(b) Also on the Effective Date, but solely immediately after the occurrence of
Section 9.2(a) herein, CIRCOR shall retain its Equity lnterests in Leslie, as more fully described
in Section 9.3 below, subject to the Pledge Agreement.

(c) Also on the Effective Date, but solely immediately after the occurrence of
each of Section 9.2(a) through (b) herein, the following events shall be deemed for all purposes
to have occurred simultaneously:

(i) the effectiveness of the Pledge Agreement;

(ii) the effectiveness of the Promissory Note;

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(iii) the effectiveness of the Amended Certificate of
Incorporation and Amended By-Laws of Reorganized Leslie; and

(iv) any Distributions required to be made on the Effective Date
(or as soon thereafter as is reasonably practicable).

9.3. The Asbestos PI Trust.

(a) Creation of the Asbestos PI Trust. On the Effective Date, the Asbestos PI
Trust shall be created in accordance with the Plan Documents the Asbestos PI Trust Documents
and section 524(g) of the Bankruptcy Code. The Asbestos PI Trust is intended to constitute a
“qualified settlement fund” within the meaning of section 468B of the Internal Revenue Code
and the regulations issued thereunder The purpose of the Asbestos PI Trust shall be to assume,
Liquidate and, after the Trust Distribution Effective Date, resolve all liabilities determined to
arise from, or relate to, the Asbestos Pl Claims (whether existing as of the Effective Date or
arising at any time thereafter) and, after the Trust Distribution Effective Date, to use the
Asbestos PI Trust Assets to pay holders of Asbestos PI Claims in accordance with the terms of
the Asbestos PI Trust Agreement, the Asbestos PI Trust Distribution Procedures the Plan and
the Confirmation Order, and in such a way as to provide reasonable assurance that the Asbestos
PI Trust will value, and be in a financial position to pay, present Asbestos Pl Claims and future
Demands that involve similar claims in substantially the same manner, and to otherwise comply
in all respects With the requirements of section 524(g)(2)(B) of the Bankruptcy Code. The
Asbestos PI Trust shall have no liability for any Claim other than an Asbestos PI Claim, which
shall be determined and after the Trust Distribution Effective Date, paid in accordance with the
terms provisions and procedures of the Asbestos PI Trust Agreement and the Asbestos Pl Trust
Distribution Procedures On the Effective Date, all right, title and interest in and to the Asbestos
PI Trust Assets and any proceeds thereof, will be transferred to, and vested in, the Asbestos Pl
Trust, free and clear of all Claims, Demands Equity lnterests Encumbrances and other interests
of any Entity without any further action of the Bankruptcy Court or any Entity, but subject to the
remaining provisions of this Section 9,3.

(b) Appointment of Asbestos Pl Trustee The initial Trustee of the Asbestos
PI Trust shall be set forth in a Plan Supplement.

(c) Appointment of Future Claimants’ Representative J ames L. Patton, Jr.
shall serve as the Future Claimants’ Representative

(d) Appointment of Asbestos Pl Trust Advisory Committee Members. The
initial members of the Asbestos PI Trust Advisory Committee shall be those persons designated
in the Confirmation Order.

(e) Claims Review. From and after the Effective Date, the Asbestos Pl Trust
may retain such third-party claims reviewers as the Asbestos PI Trustee and the Future
Claimants’ Representative deem appropriate to review and Liquidate (but not pay until the Trust
Distribution Effective Date) all Asbestos PI Claims submitted to the Asbestos PI Trust in
accordance with the Asbestos Pl Trust Agreement and the Asbestos PI Trust Distribution
Procedures

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(f) Limitation on Incurrence of Costs Prior to Trust Distribution Effective
_I_)_a~te. Durin g the period on and after the Effective Date but prior to the Trust Distribution
Effective Date, the Asbestos Pl Trust shall not incur costs (defined broadly to include all
obligations including salaries disbursements expenses and all other costs) in an aggregate total
amount greater than 8500,000.

(g) Pavment of Asbestos Pl Claims. Prior to the Trust Distribution Effective
Date, the Asbestos PI Trust shall not pay any Asbestos PI Claims. After the Trust Distribution
Effective Date, the Asbestos PI Trust shall pay Asbestos PI Claims that have been determined to
be payable pursuant to the provisions governing the Asbestos PI Trust.

(h) Contributions to the Asbestos Pl Trust. On the Effective Date,
Reorganized Leslie and ClRCOR shall make the Leslie Contribution and the CIRCOR Asbestos
Pl Trust Contribution, respectively, to the Asbestos Pl Trust.

(i) Leslie Promissory Note On the Effective Date, as part of the Leslie
Contribution, Reorganized Leslie shall execute and deliver to the Asbestos PI Trust the Leslie
Promissory Note As security for the Leslie Promissory Note, on the Effective Date, CIRCOR
shall execute and deliver to the Asbestos PI Trust the CIRCOR Pledge

(j) Transfer of Claims and Demands to the Asbestos Pl Trust. On the
Effective Date, all liabilities obligations, and responsibilities relating to all Asbestos PI Claims
and Demands shall be transferred and channeled to the Asbestos PI Trust and shall be satisfied
solely by the assets held by the Asbestos Pl Trust. The Asbestos PI Trust shall have no liability
for any Claims other than Asbestos Pl Claims, and no Claims other than Asbestos PI Claims
shall be transferred and channeled to the Asbestos PI Trust.

(k) Discharge of Liabilities to Holders of Asbestos PI Claims. The transfer to,
vesting in, and assumption by the Asbestos PI Trust of the Asbestos PI Trust Assets on or after
the Effective Date, as contemplated by the Plan, and the occurrence of the Trust Distribution
Effective Date shall, among other things, discharge all obligations and liabilities of all Asbestos
Protected Parties for and in respect of all Asbestos Pl Claims as of the Trust Distribution
Effective Date.

(l) lndemnification bv the Asbestos PI Trust. As and to the extent provided
in the Asbestos PI Trust Indemnification Agreement, the Asbestos PI Trust shall indemnify and
hold harmless each of the following Entities for any liability, or alleged liability, arising out of,
or resulting from, an Asbestos PI Claim; (i) Leslie and Reorganized Leslie; (ii) any CIRCOR
Related Parties; (iii) any Watts Related Parties; and (iv) any current or former Representative of
any of the above, in their capacities as such.

(m) lnvestment Policy. Prior to the Trust Distribution Effective Date, except
as otherwise authorized by prior written consent of each of the Asbestos PI Trustee, the Asbestos
Pl Trust Advisory Committee, the Future Claimants’ Representative and CIRCGR, funds shall
be invested in money market funds (a) the managers of which have a long term issuer rating of at
least Aa3 or AA-, respectively, by Moody’s lnvestor Services and Standard & Poor’s, and (b)
that invest exclusively in securities that (i) are issued by the United States Treasury or are

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directly and fully guaranteed or insured by the United States Government or any agency or
instrumentality thereof, (ii) have maturities of not more than three (3) years from the date of
acquisition, and (iii) are rated Aaa and AAA, respectively, by Moody’s Investor Services and
Standard & Poor’s. After the Trust Distribution Effective Date, investment of monies held in the
Asbestos PI Trust shall be administered in the manner consistent with the standards set forth in
the Uniform Prudent lnvestor Act drafted by the National Conference of Commissioners on
Uniform State Laws and approved by the American Bar Association on February 14, 1995,
subject to such limitations and provisions as set forth in the Asbestos PI Trust Agreement.

(n) Books and Records On the Effective Date, the Asbestos Records
Cooperation Agreement shall become effective and the Asbestos Records shall be treated in
accordance therewith.

(o) Injunction. Notwithstanding any other provision of the Plan or the
Confirmation Order that might be construed to be to the contrary, the Asbestos Pl Trust is hereby
prohibited and permanently enjoined from seeking to recover (on its own behalf or on behalf of
its beneficiaries) from any Settling Insurer any insurance coverage provided by the Settling
Insurer that has been released by Leslie or by CIRCOR pursuant to a settlement agreement,
including the settlement agreements listed in Exhibit F to the Plan.

(p) Preservation of lnsurance Claims. The discharge, release, exculpation and
indemnification of the Released Parties pursuant to the Plan shall neither diminish nor impair the
' enforceability of any Asbestos PI insurance Contract. The Asbestos PI Trust is and shall be
deemed to be for all purposes including but not limited to for purposes of insurance and
indemnity, the successor to Leslie in respect of all Asbestos PI Claims. An Asbestos PI Claim
determined to be payable pursuant to the provisions governing the Asbestos PI Trust shall be,
and shall be deemed to be a judgment against the Asbestos PI Trust (as successor for all purposes
to the liabilities of Leslie in respect of Asbestos PI Claims) to be liquidated by the Asbestos PI
Trust in accordance with the Asbestos PI Trust Distribution Procedures

(q) Failure of Trust Distribution Effective Date. If the Confirmation Order is
vacated modified or reversed after its affirmance or issuance by the District Court, then the
Debtor, ClRCOR, Asbestos Claimants Committee and the Future Claimants’ Representative
shall negotiate in good faith to determine if they can agree upon a modified Plan acceptable to all
such parties lf the parties are unable to do so within 90 days from the date of such vacating
modification, or reversal of the Confirmation Order (which period may be extended by the
agreement of the Debtor, ClRCOR, Asbestos Claimants Committee, and Future Claimants’
Representative, filed with the Bankruptcy Court), then the following shall thereupon occur:

(i) The Asbestos Pl Trust shall immediately return the Leslie
Promissory Note to Leslie;

(ii) The Pledge Agreement shall be null and void;

(iii) The Asbestos PI Trust shall immediately transfer all of its
assets to CIRCOR, except for the Leslie Promissory Note which shall be returned to
Leslie;

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(iv) All rights and interests relating to insurance previously
transferred by the Debtor to the Asbestos PI Trust shall immediately and automatically
revert to the Debtor; and

(v) The Asbestos PI Trust shall immediately thereafter be
dissolved and its determinations with respect to any Asbestos Pl Claims shall be deemed
void

9.4. Amended Certificate of Incorporation and By-Laws. The Amended
Certificate of Incorporation and Amended By-Laws shall contain such provisions as are
necessary to satisfy the provisions of the Plan and, to the extent necessary, to prohibit the
issuance of nonvoting equity securities as required by section 1123(a)(6) of the
Bankruptcy Code, subject to further amendment of the Amended Certificate of
Incorporation and Amended By-Laws after the Effective Date as permitted by applicable
law. Except as otherwise provided herein, such Amended Certificate of lncorporation
and Amended By-Laws shall contain indemnification provisions applicable to the officers
and employees of Reorganized Leslie and such other Entities as may be deemed
appropriate in the discretion of Reorganized Leslie and will provide for the authorization
and/or issuance of the Reorganized Leslie Common Stock as identified in the Plan
Supplement.

9.5. Reorganized Leslie C0mm0n Stock. On the Effective Date, all of the
issued and outstanding shares of common stock of Leslie shall become Reorganized
Leslie Common Stock as of the Effective Date.

9.6. Corporate Governance of Reorganized Leslie. On or after the Effective
Date (i) the current directors of Leslie will serve on the Board of Directors of
Reorganized Leslie, as identified in the Disclosure Statement with any further changes set
forth in the Plan Supplement and (ii) the current officers of Leslie, as identified in the
Disclosure Statement with any further changes set forth in the Plan Supplement, will
serve as officers of Reorganized Leslie, subject to any applicable employment
agreements

9.7. Ef`fectuating Documents; Further Transactions. Any officer, member
or manager of or director of Leslie or Reorganized Leslie, as the case may be, shall be,
and hereby is, authorized to execute, deliver, file, and record such contracts instruments
releases indentures certificates and other agreements or documents and take such other
actions as may be necessary or appropriate to effectuate and further evidence the terms
and conditions of the Plan. The Secretary of Leslie is hereby authorized to certify or
attest to any of the foregoing if necessary.

Leslie and Reorganized Leslie, and all other parties including all holders of Claims
entitled to receive Distributions under the Plan, shall execute any and all documents and
instruments that must be executed under or in connection with the Plan in order to implement the
terms of the Plan or to effectuate the Distributions under the Plan, provided that such documents
and instruments are reasonably acceptable to such party or parties

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9.8. Treatment of each Settling Asbestos Insurance Entity. Leslie shall
recommend to the Bankruptcy Court that any such Asbestos Insurance Entity should be
entitled to treatment under section 524(g) of the Bankruptcy Code, solely with respect to
the policy or policies that are the subject of the lnsurance Settlement Agreement, by
identifying such Asbestos lnsurance Entity as a Settling Asbestos Insurance Entity and
setting forth the corresponding policies on Exhibit F to the Plan, as such exhibit may be
amended by Leslie from time to time prior to the Confirmation Date.

ARTICLE X.
EFFECT ()F CONFIRMATION

10.1. Vesting of Reorganized Leslie’s Assets Pursuant to section 1141(b) of
the Bankruptcy Code, except as otherwise provided in the Plan, the Plan Documents or
the Confirmation Order, the property of the Estate of Leslie (except for the Leslie
Contribution) shall vest in Reorganized Leslie on the Effective Date free and clear of any
and all Liens, Claims Encumbrances and other interests of any Entity. From and after
the Effective Date, Reorganized Leslie may operate its business and may use, acquire,
and dispose of property free of any restrictions imposed under the Bankruptcy Code, the
Bankruptcy Rules, and the Bankruptcy Court, Without limiting the generality of the
foregoing Reorganized Leslie may, without application to, or approval by, the
Bankruptcy Court, pay Professional fees and expenses that Reorganized Leslie incurs
after the Effective Date

10.2. Preservation of Certain Causes of Action; Defenses. Except as
provided in Section 10.6 below, in accordance with section 1123(b) of the Bankruptcy
Code, Reorganized Leslie, as successor in interest to Leslie and its Estate, shall retain and
may enforce any and all rights, Claims, and Causes of Action accruing to or that are
property of Leslie or its Estate pursuant to the Bankruptcy Code or any statute or legal
theory, including any Avoidance Action, any rights to, Claims or Causes of Action for
recovery under any policies of insurance issued to or on behalf of Leslie but not including
Asbestos lnsurance Rights and Asbestos lnsurance Actions and any rights Claims, and
Causes of Action against third parties related to or arising Out of Allowed Claims and
Reorganized Leslie shall retain and may enforce all defenses and counterclaims to all
Claims asserted against Leslie or its Estate, including but not limited to, setoff,
recoupment and any rights under section 502(d) of the Bankruptcy Code. Reorganized
Leslie may pursue such Claims rights, or Causes of Action, as appropriate, in its sole and
absolute discretion Notwithstanding anything in Section 10.2 of the Plan to the contrary,
neither Leslie nor Reorganized Leslie shall have any rights to pursue any Avoidance
Actions or Derivative Liability Claims against any of the CIRCOR Related Parties or
Watts Related Parties or any of their Representatives Reorganized Leslie does not intend
to pursue any Avoidance Actions.

Notwithstanding anything in this Section 10.2 to the contrary, but subject to Section 9.3
above, on the Effective Date all Claims defenses rights and Causes of Action of Leslie and
Reorganized Leslie relating to Asbestos PI Claims, Asbestos lnsurance Rights and Asbestos
Insurance Actions shall be transferred and assigned to the Asbestos Pl Trust. Except as

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otherwise provided in Section 10.2 of the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, the Asbestos PI Trust shall retain and may enforce such Claims, defenses
rights and Causes of Action and shall retain and may enforce all defenses and counterclaims to
all Claims or Demands asserted against the Asbestos PI Trust with respect to such Asbestos PI
Claims, including but not limited to, setoff, recoupment and any rights under section 502(d) of
the Bankruptcy Code; provided however, that no such defenses Causes of Action, or
counterclaims may be asserted against any Asbestos Protected Party. The Asbestos Pl Trust
shall be deemed to be the appointed representative to, and may, pursue, litigate, compromise and
settle any ri ghts, Claims, or Causes of Action transferred to it, as appropriate, in accordance with
its and its beneficiaries’ best interests

Nothing in this Section 10.2, however, shall be deemed to be a transfer by Leslie or
Reorganized Leslie of any Claims rights, Causes of Action, or defenses relating to assumed
Executory Contracts or which otherwise are required by Reorganized Leslie to conduct its
business in the ordinary course subsequent to the Effective Date.

10.3. Institution and Maintenance of Legal and Other Proceedings. From
and after the Effective Date to the Trust Distribution Effective Date, the Asbestos Pl
Trust, shall be empowered and entitled to pursue, compromise or settle Leslie’s or
Reorganized Leslie’s interests in any and all Asbestos Insurance Actions From and after
the Trust Distribution Effective Date, the Asbestos PI Trust shall be empowered and
entitled in its sole and absolute discretion, to pursue, compromise or settle Leslie’s or
Reorganized Leslie’s interests in any and all Asbestos Insurance Actions. The duties,
obligations and liabilities of any Asbestos lnsurance Entity under all insurance policies
including but not limited to, the Asbestos PI lnsurance Contracts all Insurance
Settlement Agreements, and all other settlement agreements are not enlarged or
diminished reduced or eliminated by any aspect of the Chapter 11 Case, provided that
all Asbestos PI Insurer Coverage Defenses are preserved in accordance with Section 10.4
of the Plan.

10.4. Insurance Neutrality. Notwithstanding anything to the contrary in the
Confirmation Order or the Plan, but subject to the proviso below, nothing in the
Confirmation Order or the Plan (including any other provision that purports to be
preemptory or supervening) shall in any way operate to impair, or have the effect of
impairing the insurers’ legal, equitable or contractual rights, if any, in any respect. The
rights of the insurers shall be determined under the insurance contracts applicable law or
insurance settlement agreements, as applicable; provided however, that nothing in this
Section 10.4 shall preclude the entry or effectiveness of the Asbestos PI Channeling
lnjunction or shall affect or limit, or be construed as affecting or limiting the protections
afforded to the Asbestos Protected Parties under the Asbestos Pl Channeling Injunction,
or shall affect or limit, or be construed as affecting or limiting the releases covenants
and/or agreements in the Asbestos PI Trust Agreement (or any releases granted in
connection therewith).

10.5. Terms of Injunction and Automatic Stay. All of the injunctions and/or
stays in existence immediately prior to the Confirmation Date provided for in or in
connection with the Chapter 11 Case, whether pursuant to section 105, 362, or any other

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provision of the Bankruptcy Code, the Bankruptcy Rules or other applicable law,
including but not limited to, the injunction provided for by the Preliminary lnjunction
Order shall remain in full force and effect until the injunctions set forth in the Plan
become effective pursuant to a Final Order, and shall continue to remain in full force and
effect thereafter as and to the extent provided by the Plan, the Confirmation Order, or by
their own terms In addition, on and after the Confirmation Date, Reorganized Leslie
may seek such further orders as it may deem necessary or appropriate to preserve the
status quo during the time between the Confirmation Date and the Effective Date.

Each of the injunctions contained in the Plan or the Confirmation Order shall become
effective on the Effective Date and shall continue in effect at all times thereafter unless otherwise
provided by the Plan or the Confirmation Order. All actions of the type or nature of those to be
enjoined by such injunctions shall be enjoined during the period between the Confirmation Date
and the Effective Date.

10.6. No Liability for Certain Released Claims. Neither Leslie, Reorganized
Leslie, the other Asbestos Protected Parties, nor the Asbestos PI Trust (except, as it
relates to the Asbestos PI Trust, with respect to the Asbestos PI Claims) does or shall be
deemed to, assume, agree to perform, pay, or indemnify creditors for any liabilities or
obligations of Leslie relating to or arising out of the operations of, or assets of, Leslie
whether arising prior to or resulting from actions events or circumstances occurring or
existing at any time prior to the Effective Date. Neither Reorganized Leslie, nor the
Asbestos PI Trust shall be liable for any Derivative Liability Claim, except that
Reorganized Leslie and the Asbestos PI Trust shall assume their respective obligations
specified in the Plan and the Confirmation Order.

Effective automatically on the Trust Distribution Effective Date, the Asbestos Protected
Parties and their respective Representatives shall unconditionally and irrevocably be fully
released from any and all Derivative Liability Asbestos PI Claims.

10.7. Title to Asbestos PI Trust Assets On the Effective Date, title to all of
the Asbestos PI Trust Assets shall vest in the Asbestos PI Trust free and clear of all
Claims, Equity lnterests Encumbrances and other interests of any Entity, subject to the
provisions of Sections 9.3 and 10.3 above The Asbestos Pl Trust shall be empowered
and entitled to process and, after the Trust Distribution Effective Date, pay Asbestos PI
Claims in accordance with the Asbestos PI Trust Distribution Procedures and the
Asbestos P1 Trust Agreement.

10.8. Dissolution of Off`icial Committees; Continuation of Future
Claimants’ Representative; Creation of the Asbestos PI Trust Advisory Committee
Effective on the Effective Date, any committee appointed in the Chapter 11 Case shall be
dissolved automatically, whereupon its members Professionals and agents shall be released
from any further duties and responsibilities in the Chapter 11 Case and under the Bankruptcy
Code, except with respect to applications for compensation by Professionals or reimbursement of
expenses incurred as a member of an official committee and any motions or other actions
seeking enforcement or implementation of the provisions of the Plan or the Confirmation Order
or pending appeals of any other order entered in the Chapter 11 Case

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As provided in Section 9.3(d) above, the Confirmation Order shall provide for the
appointment of the Asbestos PI Trust Advisory Committee effective as of the Effective Date.
The Confirmation Order shall also provide that, from and after the Effective Date, the Future
Claimants’ Representative shall continue to serve as provided in the Plan and the Asbestos PI
Trust Agreement, to perform the functions specified and required therein The Future Claimants’
Representative also may, at his option, participate in any: (a) appeal of the Confirmation Order;
(b) hearing on a claim for compensation or reimbursement of a Professional; or (c) adversary
proceeding pending on the Effective Date in which the Future Claimants’ Representative is a
party.

Upon termination of the Asbestos PI Trust: (a) the members of the Asbestos PI Trust
Advisory Committee and the Future Claimants’ Representative shall be released and discharged
of and from all further authority, duties, responsibilities and obligations relating to and arising
from and in connection with the Chapter 11 Case; and (b) the Asbestos PI Trust Advisory
Committee shall be deemed dissolved and the Future Claimants’ Representative’s employment
shall be deemed terminated '

All reasonable and necessary post-Effective Date fees and expenses pf the
professionals retained by the Asbestos PI Trust Advisory Committee and the Future
Claimants’ Representative shall be paid exclusively by the Asbestos PI Trust in
accordance with the terms of the Asbestos PI Trust Agreement, and Reorganized Leslie
shall not be liable for any such fees and expenses The parties shall attempt to resolve
any dispute regarding the payment of such fees and expenses in good faith, and if they
shall fail to resolve such dispute, they shall submit the dispute to the Bankruptcy Court
for resolution

ARTICLE XI.
RELEASES, INJUNCTIONS AND WAIVERS OF CLAIMS

11.1. Discharge. Except as specifically provided for in Sections 4.1, 4.2, 4.3
and 11.10 of the Plan, pursuant to section 1141(d)(1)(A) of the Bankruptcy Code,
confirmation of the Plan shall discharge Leslie and Reorganized Leslie from any and all
Claims of any nature whatsoever, including without limitation, all Claims and liabilities
that arose before the Effective Date and all debts of the kind specified in sections 502(g),
502(h) and 502(i) of the Bankruptcy Code, whether or not: (a) a Proof of Claim based on
such Claim was filed under section 501 of the Bankruptcy Code, or such Claim was listed
on any Schedules of Leslie; (b) such Claim is or was allowed under section 502 of the
Bankruptcy Code; or (c) the holder of such Claim has voted on or accepted the Plan.
Except as specifically provided for in Sections 4.1, 4.2, 4.3 and 11.8 of the Plan, as of the
Effective Date the rights provided in the Plan shall be in exchange for and in complete
satisfaction, settlement and discharge of all Claims against Leslie or Reorganized Leslie
or any of their respective assets and properties

11.2. Injunction. Except as specifically provided for in Sections 4.1, 4.2, 4.3
and 11.10 of the Plan, all persons or Entities who have held, hold or may hold
Claims or Demands are permanently enjoined from and after the Effective Date,

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from: (a) commencing or continuing in any manner any action or other proceeding
of any kind against Reorganized Leslie with respect to such Claim or Demand; (b)
enforcing attaching collecting or recovering by any manner or means of any
judgment, award decree, or order against Reorganized Leslie with respect to such
Claim or Demand; (c) creating perfecting or enforcing any Encumbrance of any
kind against Reorganized Leslie or against the property or interests in property of
Reorganized Leslie with respect to such Claim or Demand; (d) asserting any right of
setoff, subrogation, or recoupment of any kind against any obligation due to
Reorganized Leslie or against the property or interests in property of Reorganized
Leslie, with respect to such Claim or Demand; and (e) pursuing any Claim or
Demand released pursuant to this Article XI of the Plan.

11.3. Exculpation. None of the Released Parties shall have or incur any
liability to any holder of a Claim or Equity Interest, including without limitation,
the Asbestos PI Claims, for any act or omission in connection with, related to, or
arising out of: (a) the Chapter 11 Case; (b) pursuit of confirmation of the Plan; (c)
consummation of the Plan, or administration of the Plan or the property to be
distributed under the Plan or the Asbestos PI Trust Distribution Procedures; (d) the
Plan; or (e) the negotiation, formulation and preparation of the Plan, the Plan
Documents and any of the terms and/or settlements and compromises reflected in
the Plan and the Plan Documents except for willful misconduct or gross negligence
as determined by a Final Order, and, in all respects Leslie, Reorganized Leslie, and
each of the other Released Parties shall be entitled to rely upon the advice of counsel
with respect to their duties and responsibilities under the Plan and the Plan
Documents.

11.4. Release by Debtor Released Parties of Released Parties As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed the Debtor, Reorganized Leslie, any other Debtor Released Party and
any Entity seeking to exercise the rights of the Estate, in each case, whether
individually or collectively, including without limitation, any successor to the
Debtor or any Estate representative appointed or selected pursuant to the
applicable provisions of the Bankruptcy Code, shall be deemed to forever release,
waive and discharge the Released Parties of all claims, obligations, suits judgments
remedies damages Demands debts rights, Causes of Action and liabilities which
the Debtor, any other Debtor Released Parties of the Estate are entitled to assert
including without limitation, any Derivative Liability Asbestos PI Claims and
Derivative Liability Claims asserted on behalf of the Debtor, whether known or
unknown, liquidated or unliquidated, fixed or contingent, foreseen or unforeseen,
matured or unmatured, existing or hereinafter arising in law, equity or otherwise,
based in whole or in part upon any act or omission, transaction, or occurrence
taking place on or prior to the Effective Date in any way relating to the Debtor, the
Estate, the conduct of the Debtor’s business, the Chapter 11 Case, this Plan or
Reorganized Leslie (other than the rights under this Plan, the Plan Documents and
the contracts`instruments releases and other agreements or documents delivered or
to be delivered hereunder); provided however, that nothing contained herein is
intended to operate as a release of any potential claims based upon gross negligence

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or willful misconduct. Notwithstanding anything contained in this Section 11.4,
nothing contained in this Plan shall discharge or release any Claim of or Demand by
any of the Released Parties, the Asbestos PI Trust or any holder of an Asbestos PI
Claim against any Asbestos Insurance Entity,

11.5. Release by Non-Debtor Released Parties of Released Parties. As of
the Effective Date, for good and valuable consideration, the adequacy of which is
hereby confirmed the Non-Debtor Released Parties shall be deemed to forever
release, waive and discharge the Released Parties and the Asbestos PI Trust of and
from all claims, obligations suits judgments remedies damages Demands debts
rights, Causes of Action and liabilities which the Non-Debtor Released Parties are
entitled to assert, whether known or unknown, liquidated or unliquidated, fixed or
contingent, foreseen or unforeseen, matured or unmatured, existing or hereinafter
arising in law, equity or otherwise, based in whole or in part upon any act or
omission, transaction, or occurrence taking place on or prior to the Effective Date in
any way relating to the Debtor, the Estate, the conduct of the Debtor’s business, the
Chapter 11 Case, this Plan or Reorganized Leslie (other than the rights under this
Plan, the Plan Documents and the contracts instruments releases and other
agreements or documents delivered or to be delivered hereunder); provided
however, that nothing contained herein is intended to operate as a release of any
potential claims based upon gross negligence or willful misconduct.
Notwithstanding anything contained in this Section 11.5, nothing contained in this
Plan shall discharge or release any Claim of or Demand by any of the Released
Parties, the Asbestos PI Trust or any holder of an Asbestos PI Claim against any
Asbestos Insurance Entity, Notwithstanding anything contained in this Section 11.5,
or elsewhere in this Plan (including but not limited to in Sections 9.3(j), 10.6, 11.3
and 11.7) or the Plan Documents nothing contained in this Plan or the Plan
Documents shall discharge, release, impair, enjoin, or prejudice in any way any
claim, rights, or demands that any of the Watts Related Parties have asserted or
may assert under (1) the Distribution Agreement dated as of October 1, 1999 by and
between Watts Industries Inc. and CIRCOR or (2) any insurance policy or contract
providing coverage to any or all of the Watts Related Parties,

11.6. Release by Holders of Claims and Equity Interests. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed each holder of a Claim or Demand against, or Equity Interest in, Leslie,
who receives a Distribution pursuant to the Plan shall be deemed to forever release,
waive, and discharge all claims, obligations, suits judgments remedies damages
Demands debts rights, Causes of Action and liabilities whatsoever against the
Released Parties whether known or unknown, liquidated or unliquidated, fixed or
contingent, foreseen or unforeseen, matured or unmatured existing or hereinafter
arising in law, equity or otherwise, based in whole or in part upon any act or
omission, transaction, or occurrence taking place on or prior to the Effective Date in
any way relating to the Debtor, the Estate, the conduct of the Debtor’s business the
Chapter 11 Case, this Plan or Reorganized Leslie (other than the rights under this
Plan, the Plan Documents and the contracts instruments releases and other
agreements or documents delivered or to be delivered hereunder), including for the

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avoidance of doubt, any and all Causes of Action that the holder of an Asbestos PI
Claim, the Asbestos PI Trust or the Future Claimants Representative did commence
or could have commenced against any officer or director of Leslie (serving in such
capacity) that is based upon or arising from any acts or omissions of such officer or
director occurring prior to the Effective Date on account of such Asbestos PI Claim,
to the fullest extent permitted under section 524(e) of the Bankruptcy Code and
applicable law (as now in effect or subsequently extended); provided however, that
nothing contained herein is intended to operate as a release of (a) any potential
claims based upon gross negligence or willful misconduct or (b) any claim by any
federal, state or local authority under the Internal Revenue Code or other tax
regulation or any applicable environmental or criminal laws.

11.7. Asbestos PI Channeling Injunction. Pursuant to the Confirmation
Order and section 524(g) of the Bankruptcy Code, and subject to Section 11.8 below,
the sole recourse of any holder of an Asbestos PI Claim on account of such Asbestos
PI Claim shall be against the Asbestos PI Trust. Each such holder shall be and is
enjoined from taking legal action directed against Leslie, Reorganized Leslie, any of
the CIRCOR Related Parties or Watts Related Parties, or any other Asbestos
Protected Party, or their respective property, for the purpose of directly or
indirectly collecting recovering or receiving payment or recovery relating to such
Asbestos PI Claim.

11.8. Limitations of Injunctions. The releases set forth in the Plan and the
injunction set forth in Section 11.7 above shall not enjoin:

(a) the rights of Entities to the treatment accorded to them under
Articles III and IV above, as applicable, including the rights of Entities with Asbestos
PI Claims to assert such Claims or Demands against the Asbestos PI Trust in
accordance with the Asbestos PI Trust Distribution Procedures; and

(b) the rights of Entities to assert any Claim, debt, obligation, or
liability for payment of Asbestos PI Trust Expenses against the Asbestos PI Trust.

11.9. Releases and Indemnification by Leslie. As of the Effective Date,
Leslie and Reorganized Leslie hereby release and are permanently enjoined from
prosecuting or attempting to prosecute any Derivative Liability Claims and any and
all Causes of Action against the Released Parties that Leslie or Reorganized Leslie
have, may have or claim to have, now or in the future, that are property of,
assertable on behalf of, or derivative of Leslie. Reorganized Leslie also will
indemnify, release and hold harmless each of the CIRCOR Related Parties and the
Watts Related Parties pursuant to the provisions of, and to the extent set forth in,
the Plan.

11.10. Indemnification and Reimbursement Obligations. For purposes of
the Plan, the obligations of Leslie to indemnify and reimburse persons who are or
were directors, officers, or employees of Leslie on the Commencement Date or at
any time thereafter against and for any obligations as provided in Leslie’s certificate

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of incorporation, by-laws, applicable state law, or other agreement, or any
combination of the foregoing shall survive confirmation of the Plan, remain
unaffected thereby, and not be discharged in accordance with section 1141 of the
Bankruptcy Code, irrespective of whether indemnification or reimbursement is
owed in connection with an event occurring before, on, or after the Commencement
Date. Such obligations shall be assumed by Reorganized Leslie on the Effective
Date. In furtherance of the foregoing Reorganized Leslie shall use its commercially
reasonable efforts to maintain or procure insurance for the benefit of such directors,
officers or employees at levels satisfactory to Reorganized Leslie and the Asbestos
PI Trust.

11.11. Asbestos Insurance Entity Injunction. Notwithstanding anything to
the contrary elsewhere in the Plan, all Entities except the Asbestos PI Trust, Leslie,
or Reorganized Leslie that have held or asserted that hold or assert, or that may in
the future hold or assert any Cause of Action, including but not limited to any
Insurer Contribution Claim, against any Settling Insurer, based on, relating to,
arising out of, or in any way connected with any Asbestos PI Claim, Asbestos
Insurance Right, Asbestos PI Insurance Contract, or Insurance Settlement
Agreement whenever or wherever arisen or asserted (including all Claims in the
nature of or sounding in tort, or under contract, warranty, or any other theory of
law, equity, or admiralty) shall be stayed restrained and enjoined from taking any
action for the purpose of directly or indirectly collecting recovering or receiving
payments, satisfaction, or recovery with respect to any such Claim, Demand or
Cause of Action, including: (a) commencing conducting or continuing in any
manner, directly or indirectly, any suit, action, or other proceeding of any kind
(including a judicial, arbitration, administrative, or other proceeding) in any forum
with respect to any such Claim, Demand or Cause of Action against any Settling
Insurer, or against the property of any Asbestos Insurance Entity, with respect to
any such Cause of Action; (b) enforcing levying attaching collecting or otherwise
recovering by any means or in any manner, whether directly or indirectly, any
judgment, award decree, or other order against any Settling Insurer, or against the
property of any Asbestos Insurance Entity, with respect to any such Claim,
Demand or Cause of Action; (c) creating perfecting or enforcing in any manner,
directly or indirectly, any Encumbrance against any Asbestos Insurance Entity, or
the property of any Asbestos Insurance Entity, with respect to any such Claim,
Demand or Cause of Action; and (d) asserting or accomplishing any setoff, right of
subrogation, indemnity, contribution, or recoupment of any kind directly or
indirectly, against any obligation of any Settling Insurer, or against the property of
any Asbestos Insurance Entity, with respect to any such Claim, Demand or Cause
of Action, The Asbestos PI Trust shall have the sole and exclusive authority at any
time to terminate, reduce, or limit the scope of, the Asbestos Insurance Entity
Injunction. The Asbestos Insurance Entity Injunction is issued solely for the benefit
of the Asbestos PI Trust and is not issued for the benefit of any Asbestos Insurance
Entity, and no Asbestos Insurance Entity is a third-party beneficiary of the Asbestos
Insurance Entity Injunction.

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11.12. Reduction of Insurance Judgments. Any right or Cause of Action
that an Asbestos Insurance Entity may have under applicable non-bankruptcy law
against any other Asbestos Insurance Entity (but for the Asbestos Insurance Entity
Injunction), shall be channeled to and become a right or Cause of Action solely as
an offset claim against the Asbestos PI Trust and not against the other Asbestos
Insurance Entity in question. Any such right or Cause of Action to which an
Asbestos Insurance Entity may be entitled if any, shall be solely a setoff against any
recovery of the Asbestos PI Trust from that Asbestos Insurance Entity and under no
circumstances shall that Asbestos Insurance Entity receive an affirmative recovery
of funds from the Asbestos PI Trust or any other Asbestos Insurance Entity for such
right or Cause of Action, Any setoff in favor of an Asbestos Insurance Entity shall
not constitute a classified or unclassified Claim or Demand under the Plan and shall
not be subject to or impaired by the Plan, except as provided in this Section.
Instead, any such setoff shall be determined calculated and applied solely as a
matter of applicable non-bankruptcy law without regard to the Plan, (except as
provided in this Section) or any bankruptcy law or decision.

ARTICLE XII.

CGNDITIONS PRECEDENT T() CONFIRMATI()N
AND CGNSUMMATI()N GF THE PLAN

12.1. Conditions Precedent to Confirmation of the Plan. The following are
conditions precedent to confirmation of the Plan that must be satisfied unless waived in
accordance with Section 12.3 below:

(a) The Confirmation Order shall be acceptable in form and substance to
Leslie and CIRCOR, after consultation with the Asbestos Claimants Committee and the Future
Claimants’ Representative

(b) At least two-thirds (2/3) in amount and seventy-five percent (75%) in
number of those holders of Class 4 Asbestos PI Claims actually voting on the Plan shall have
voted to accept the Plan.

(c) The Confirmation Order shall, among other things

(i) order that the Confirmation Order shall supersede any
Bankruptcy Court orders issued prior to the Confirmation Date that may be inconsistent
with the Confirmation Order;

(ii) provide that, except with respect to obligations specifically
preserved in the Plan, including without limitation, Section 11.10 above, Leslie is
discharged effective on the Effective Date (in accordance with the Plan) from any Claims
and Demands and Leslie’s liability in respect thereof, whether reduced to judgment or
contingent, asserted or unasserted, fixed or not, matured or unmatured, disputed or
undisputed legal or equitable, or known or unknown, that arose from any agreement of
Leslie entered into or obligation of Leslie incurred before the Effective Date, or from any

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conduct of Leslie prior to the Effective Date, or whether such interest accrued before or
after the Commencement Date, is extinguished completely;

(iii) provide for the Asbestos Pl Channeling Injunction;

(iv) provide that, as part of the Leslie Contribution to the
Asbestos Pl Trust, Leslie or Reorganized Leslie is obligated to assign (or cause to be
assigned) the Asbestos lnsurance Rights and the Asbestos lnsurance Actions.

(v) provide that, as part of the Leslie Contribution to the
Asbestos PI Trust, Leslie is obligated to contribute the Leslie Promissory Note on the
Effective Date;

(vi) provide that, as the CIRCOR Asbestos PI Trust
Contribution to the Asbestos PI Trust, CIRCOR is obligated to contribute (or cause to be
contributed) the CIRCOR Cash and the CIRCOR Pledge on the Effective Date;

(vii) provide that Reorganized Leslie and the Asbestos PI Trust
shall execute the Promissory Note;

(viii) provide that the Asbestos PI Trust, CIRCOR and
Reorganized Leslie shall enter into the Pledge Agreement;

(ix) provide that CIRCOR shall retain its Equity lnterests which
shall become Reorganized Leslie Common Stock as of the Effective Date;

(x) provide that, subject to the limitations expressly set forth in
Section 10.4 above all transfers of assets of Leslie contemplated under the Plan shall be
free and clear of all Claims and Encumbrances against or on such assets;

(xi) authorize the implementation of the Plan in accordance
with its terms and provide that, on the Effective Date, all of the transactions listed in
Section 9.2 shall have occurred as set forth therein;

(xii) provide that any transfers effected or entered into, or to be
effected or entered into, under the Plan shall be and are exempt under section 1146(a) of
the Bankruptcy Code from any state, city or other municipality transfer taxes mortgage
recording taxes and any other stamp or similar tax;

(xiii) approve in all respects the other settlements transactions
and agreements to be effected pursuant to the Plan, including without limitation, the
Asbestos Pl Trust Agreement, the Asbestos Pl Trust Distribution Procedures the Leslie
Promissory Note, the Pledge Agreement, the Asbestos Pl Trust Indemnification
Agreement and the other Asbestos PI Trust Documents and the release of CIRCOR
Related Parties and Watts Related Parties with respect to Derivative Liability Asbestos PI
Claims in exchange for the CIRCOR Asbestos Pl Trust Contribution;

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(xiv) provide that all Executory Contracts assumed or assumed
and assigned by Leslie during the Chapter 11 Case or under the Plan shall remain in full
force and effect for the benefit of Reorganized Leslie or the assignee thereof
notwithstanding any provision in such contract or lease (including those provisions
described in sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits such
assignment or transfer or that enables or requires termination of such contract or lease;

(xv) provide that the transfers of property by Leslie (except for
the Leslie Contribution) to Reorganized Leslie (A) are or will be legal, valid and
effective transfers of property; (B) vest or will vest Reorganized Leslie with good title to
such property, except as expressly provided in Section 10.2 of the Plan; (C) do not and
will not constitute avoidable transfers under the Bankruptcy Code or under other
applicable bankruptcy or non-bankruptcy law; and (D) do not and will not subject
Reorganized Leslie to any liability by reason of such transfer under the Bankruptcy Code
or applicable non-bankruptcy law, including without limitation, any laws affecting or
effecting successor or transferee liability; and

(xvi) provide that any attorney-client, work product or other
privilege that applies to the Asbestos Records shall be subject to the terms of the
Asbestos Records Cooperation Agreement.

(d) in addition to the foregoing the Confirmation Order shall contain the
following findings of fact and conclusions of law, among others:

(i) The Asbestos PI Channeling lnjunction is to be
implemented in accordance with the Plan and the Asbestos PI Trust;

(ii) The Plan does not provide for the liquidation of all or
substantially all of the property of Leslie, that Reorganized Leslie will continue in
business as an ongoing reorganized debtor, and that confirmation of the Plan is not likely
to be followed by the liquidation of Reorganized Leslie or the need for further financial
reorganization;

(iii) The Plan complies with all applicable provisions of the
Bankruptcy Code, including without limitation, those requiring that the Plan was
proposed in good faith and that the Confirmation Order was not procured by fraud;

(iv) As of the Commencement Date, Leslie had been named as
a defendant in personal injury and wrongful death actions seeking recovery for damages
allegedly caused by the presence of, or exposure to, asbestos or asbestos-containing
products

(v) The Asbestos PI Trust is to be funded by the Leslie
Contribution and the CIRCOR Asbestos PI Trust Contribution;

(vi) The Asbestos PI Trust, on the Effective Date, by the
exercise of contingent rights granted under the Plan, and pursuant to the Leslie
Promissory Note and the Pledge Agreement, would be entitled to own the majority of

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Reorganized Leslie Common Stock in accordance with the terms of the Pledge
Agreement;

(vii) The Asbestos Pl Trust is to use its assets and income to pay
Asbestos PI Claims;

(viii) Leslie is likely to be subject to substantial future Demands
for payment arising out of the same or similar conduct or events that gave rise to the
Asbestos PI Claims, and all such Demands are subject to the Asbestos PI Channeling
Injunction;

(ix) The actual amounts numbers and timing of Demands
cannot be determined

(x) Pursuit of Demands outside the procedures prescribed by
the Plan and the Asbestos PI Trust Distribution Procedures is likely to threaten the Plan’s
purpose to deal equitably with Asbestos Pl Claims;

(xi) The terms of the Asbestos Pl Channeling lnjunction,
including any provisions barring actions against third parties are set forth in the Plan and
the Disclosure Statement;

(xii) The Plan separately classifies Class 4 Asbestos PI Claims,
and at least two-thirds (2/3) in amount and seventy-five percent (75%) of the members in
such Class that voted on the Plan have voted to accept the Plan;

(xiii) Pursuant to: (A) the Asbestos PI Trust Distribution
Procedures (B) court order; or (C) otherwise, the Asbestos Pl Trust will operate through
mechanisms such as structured periodic, or supplemental payments, pro rata
distributions matrices or periodic review of estimates of the numbers and values of
Asbestos Pl Claims or other comparable mechanisms that provide reasonable assurance
that the Asbestos Pl Trust will value, and be in a financial position to pay, similar
Asbestos PI Claims in substantially the same manner;

(xiv) The Asbestos Pl Trust will make payments to Asbestos PI
Claims pursuant to the Asbestos PI Trust Distribution Procedures as funds become
available and as Asbestos PI Claims are liquidated while maintaining sufficient resources
to pay future valid Asbestos PI Claims on a substantially equivalent basis;

(xv) The Future Claimants’ Representative was appointed by the
Bankruptcy Court pursuant to section 524(g) of the Bankruptcy Code as part of the
proceedings leading to the issuance of the Asbestos Pl Channeling lnjunction for the
purpose of protecting the interests of Future Demand Holders who do not currently hold
asbestos-related Claims arising out of the conduct or products of Leslie;

(xvi) ln light of the benefits provided or to be provided to the
Asbestos PI Trust and/or Reorganized Leslie by or on behalf of each current and future

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Asbestos Protected Party, the Asbestos PI Channeling lnjunction is fair and equitable to
all creditors and Future Demand Holders;

(xvii) The Plan and its acceptance otherwise comply with sections
524(g) and 1126 of the Bankruptcy Code, and confirmation of the Plan is in the best
interests of all creditors;

(xviii) The Asbestos Pl Trust will have the sole and exclusive
authority as of the Effective Date to satisfy or defend against all Asbestos PI Claims;

(xix) The duties, obligations and liabilities of any Asbestos
Insurance Entity under all insurance policies, all lnsurance Settlement Agreements and
all other settlement agreements, are not enlarged or diminished reduced or eliminated by
any aspect of this Chapter 11 Case; provided however, that all Asbestos PI lnsurer
Coverage Defenses are preserved in accordance with Section 10.4 above;

(xx) The Asbestos PI Channeling lnjunction is essential to the
Plan and Leslie’s reorganization efforts;

(xxi) The CIRCOR Asbestos PI Trust Contribution constitutes
substantial assets of the Plan and the reorganization, is essential to the feasibility of the
Plan and the successful reorganization of the Debtor; and constitutes a sufficient basis
upon which to provide the ClRCOR Related Parties and the Watts Related Parties with
the protections afforded to them under the Plan, Plan Documents and Confirmation
Order;

(xxii) The release received by the C[RCOR Related Parties and
the Watts Related Parties in exchange for the ClRCOR Asbestos Pl Trust Contribution is
essential to the global settlement of Asbestos PI Claims arising from the conduct or
products of Leslie reflected in this Plan;

(xxiii) The terms and conditions of the Leslie Promissory Note,
the Pledge Agreement and any related documents are essential to the success and
feasibility of the Plan. All such documents shall constitute legal, valid binding and
authorized obligations of the parties obligated thereunder, enforceable in accordance with
their terms On the Effective Date, all of the liens and security interests granted in
accordance with such documents shall be deemed approved and shall be legal, valid
binding and enforceable liens on the collateral in accordance with the terms of each
agreement; and

(xxiv) Reorganized Leslie and the Asbestos PI Trust to be
established pursuant to the Plan, are valid legal Entities separate and distinct from one
another and each of Reorganized Leslie and the Asbestos PI Trust are not and may not in
the future be held liable for any liability of the other entities based upon any legal or
equitable theory, including those consisting of or relating to veil piercing alter ego,
successor liability, fraudulent transfer, or conspiracy, including but not limited to
fraudulent transfer or fraudulent conveyance claims under applicable state or federal law.

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12.2. Conditions Precedent to the Effective Date of the Plan. The following
are conditions precedent to occurrence of the Effective Date of the Plan that must be
satisfied unless waived in accordance with Section 12.4 below:

(a) The Confirmation Order, in form and substance acceptable to Leslie and
CIRCOR, after consultation with the Asbestos Claimants Committee and the Future Claimants’
Representative, shall have been entered by the Bankruptcy Court and accepted and affirmed by
the District Court or issued by the District Court;

(b) The Asbestos PI Channeling lnjunction shall be in full force and effect;

(c) All authorization, consents and regulatory approvals required if any, in
connection with the consummation of the Plan shall have been obtained

(d) All Plan Documents shall have been executed and delivered and

(e) All other actions documents and agreements necessary to implement the
Plan shall have been effected or executed

12.3. Conditions Precedent to the Trust Distribution Effective Date. The
following are conditions precedent to occurrence of the Trust Distribution Effective Date
that must be satisfied unless waived in accordance with Section 12.4 below:

(a) All of the conditions set forth in Section 12.2 above have been and-still are
satisfied and

(b) The Confirmation Order, as entered by the Bankruptcy Court and accepted
and confirmed by the District Court or issued by the District Court, has become a Final Order
without modification

12.4. Waiver of Conditions Precedent. To the fullest extent permitted by law,
any of the conditions precedent set forth in Sections 12.1, 12.2 and 12.3 above may be
waived or modified in whole or in part, by Leslie, after consultation with and written
consent by CIRCOR, the Future Claimants’ Representative, and the Asbestos Claimants
Committee Any such waiver or modification may be effected at any time without leave
or order of the Bankruptcy Court or District Court, and without any other formal action

12.5. Effect of Failure of the Effective Date of the Plan. ln the event that
Leslie determines it is appropriate, after consultation with and consent by CIRCOR, the
Future Claimants’ Representative and the Asbestos Claimants Committee, prior to the
Effective Date, upon notification submitted by Leslie to the Bankruptcy Court; (A) the
Confirmation Order shall be vacated (B) no Distributions under the Plan shall be made;
and (C) Leslie and all holders of Claims against and Equity lnterests in Leslie shall be
restored to the status quo ante as of the day immediately preceding the Confirmation Date
as though the Confirmation Date never occurred If the Confirmation Order is vacated
pursuant to this Section 12.5, nothing contained in the Plan shall: (A) constitute or be
deemed a waiver or release of any Claims or Equity lnterests by, against, or in Leslie or

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any other Entity; or (B) prejudice in any manner the rights of Leslie or any other Entity in
the Chapter 11 Case or any other or further proceedings involving Leslie

ARTICLE XIII.
JURISDICTI()N OF BANKRUPTCY COURT

13.1. Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the
Bankruptcy Code, the Bankruptcy Court shall, to the fullest extent permitted by law,
retain and have exclusive jurisdiction over all matters arising out of and related to the
Chapter 1 1 Case and the Plan, including among other things, jurisdiction to:

(a) hear and determine any and all objections to and proceedings involving
the allowance, estimation, classification, and subordination of Claims that have been or properly
should have been brought in the Bankruptcy Court (other than Asbestos Pl Claims) or Equity
lnterests;

(b) hear and determine any and all adversary proceedings applications
motions and contested or litigated matters that may be pending on the Effective Date or that,
pursuant to the Plan, may be instituted by the Asbestos PI Trust after the Effective Date,
including any proceedings with respect to any Avoidance Actions (except to the extent that any
such Avoidance Actions has been released under the Plan or the Confirmation Order) or
otherwise to recover assets for the benefit of the Estate or the Asbestos PI Trust;

(c) hear and determine all objections to the termination of the Asbestos PI
Trust;

(d) hear and determine such other matters that may be set forth in or arise in
connection with the Plan, the Confirmation Order, the Asbestos PI Channeling Injunction, or the
Asbestos Pl Trust Agreement;

(e) hear and determine any proceeding that involves the validity, application,
construction, enforceability, or modification of the Asbestos Pl Channeling Injunction;

(f) hear and determine any conflict or other issues that may arise in the
Chapter 11 Case and the administration of the Asbestos PI Trust;

(g) enter such orders as are necessary to implement and enforce the
injunctions described herein, including if necessary, in connection with application of the
protections afforded by section 524(g) of the Bankruptcy Code to the Asbestos Protected Parties;

(h) hear and determine any and all applications pursuant to section 330 or 503
of the Bankruptcy Code for allowance of any compensation for Professional services rendered
and reimbursement of expenses incurred in connection therewith any other fees and expenses
authorized to be paid or reimbursed under the Bankruptcy Code or the Plan;

(i) enter such orders authorizing non-material modifications to the Plan as
may be necessary to comply with section 468B of the lnternal Revenue Code;
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(j) hear and determine any applications pending on the Effective Date for the
assumption assumption and assignment, or rejection, as the case may be, of Executory Contracts
to which Leslie is a party, and to hear and determine and if necessary, liquidate any and all
Claims arising therefrom;

(k) hear and determine any and all applications Claims, causes of action,
adversary proceedings and contested or litigated matters that may be pending on the Effective
Date or commenced by Reorganized Leslie or any other party in interest subsequent to the
Effective Date;

(l) consider any technical modifications of the Plan, and remedy any defect or
omission or reconcile any inconsistency in any order of the Bankruptcy Court, including the
Confirmation Order, to the extent authorized by the Bankruptcy Code; provided that there shall
be no modification made at any time that would reduce or eliminate any of the protections
provided herein to the Asbestos Protected Parties or releases provided with respect to the
Derivative Liability Asbestos PI Claims;

(m) issue orders in aid of confirmation, consummation and execution of’ the
Plan to the extent authorized by section 1142 of the Bankruptcy Code, including but not limited
to compelling the conveyance of property and other performance contemplated under the Plan
and documents executed in connection herewith;

(n) hear and determine any proposed compromise and settlement of any Claim
against or cause of action by or against Leslie that has been or properly should have been brought
in the Bankruptcy Court;

(o) hear and determine any timely objections to Administrative Expense
Claims asserted or to Proofs of Claim filed both before and after the Confirmation Date,
including any objections to the classification of any Claim, and to Allow or Disallow any
Disputed Claim, in whole or in part;

(p) hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

(q) hear and determine such other matters as may be set forth in the
Confirmation Order or other orders of the Bankruptcy Court, or which may arise in connection
with the Plan, the Confirmation Order, or the Effective Date, as may be authorized under the
provisions of the Bankruptcy Code or any other applicable law;

(r) hear and determine all controversies suits and disputes that may arise in
connection with the interpretation, enforcement, or consummation of the Plan or any Entity’s
obligations hereunder, including but not limited to, performance of Leslie’s duties under the
Plan;

(s) enforce remedies upon any default under the Plan;
(t) hear and determine any other matter not inconsistent with the Bankruptcy
Code;
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(u) hear and determine any claim that in any way challenges or is related to
any provision in the Confirmation Order, including without limitation the provision of the
Confirmation Order set forth in Section 12.1(d)(xxi); and

(v) enter a final decree closing the Chapter 11 Case

lf and to the extent that the Bankruptcy Court is not permitted under applicable law to
exercise jurisdiction over any of the matters specified above, the reference to the “Bankruptcy
Court” in the preamble to this Section 13.1 shall be deemed to be a reference to the “District
Court.” Notwithstanding the terms of this Section 13.1, the Bankruptcy Court shall retain
continuing but not exclusive jurisdiction over Asbestos lnsurance Actions; provided however,
that this Section 13.1 shall not confer or grant jurisdiction to the Bankruptcy Court when the
Asbestos lnsurance Action is governed by an otherwise applicable arbitration provision
Notwithstanding anything in this Section 13.1 to the contrary, the Asbestos Pl Trust Agreement
and the Asbestos PI Trust Distribution Procedures shall govern the satisfaction of Asbestos PI
Claims and the forum in which Asbestos PI Claims shall be determined

13.2. Modification of Plan. Leslie, with the consent of CIRCOR, any official
committee, the Asbestos Claimants Committee, and the Future Claimants’
Representative, may alter, amend or modify the Plan or any Schedules or Exhibits
thereto under section 1127(a) of the Bankruptcy Code at any time prior to the
Confirmation Date and may include any such amended Schedules or Exhibits in the Plan
or the Plan Supplement, provided that the Plan, as modified meets the requirements of
sections 1122 and 1123 of the Bankruptcy Code, and Leslie shall have complied with
section 1125 of the Bankruptcy Code, to the extent necessary. Further, Leslie, with the
consent of CIRCOR, any official committee, the Asbestos Claimants Committee, and the
Future Claimants Representative may alter, amend or modify the Plan or any Schedules
or Exhibits thereto at any time after entry of the Confirmation Order and before the
Plan’s substantial consummation provided that: (a) the Plan, as modified altered or
amended meets the requirements of sections 1122 and 1123 of the Bankruptcy Code and
(b) the Bankruptcy Court, after notice and a hearing confirms the Plan as modified
under section 1129 of the Bankruptcy Code, and finds that the circumstances warrant
such modification A holder of a Claim that has accepted or rejected the Plan shall be
deemed to have accepted or rejected as the case may be, such Plan as modified unless
within the time fixed by the Bankruptcy Court, if any, such holder changes its previous
acceptance or rejection

Notwithstanding anything in this Section 13.2, there shall be no modification to the Plan
made at any time that would reduce or eliminate any of the protections provided herein to the
Asbestos Protected Parties or releases provided with respect to the Derivative Liability Asbestos
Pl Claims or (ii) any of the contributions to the Asbestos PI Trust.

13.3. Compromises of Controversies. From and after the Effective Date
Reorganized Leslie shall be authorized to compromise controversies not involving the
Asbestos PI Trust, or Asbestos PI Claims, on such terms as Reorganized Leslie may
determine, in its sole discretion, to be appropriate

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13.4. Revocation or Withdrawal of the Plan. Leslie reserves the right to
revoke or withdraw the Plan at any time prior to entry of the Confirmation Order. lf
Leslie revokes or withdraws the Plan, or if confirmation of the Plan does not occur, then
the Plan shall be null and void in all respects; any settlement or compromise embodied in
the Plan (including the fixing or limiting to an amount any Claim or Equity lnterest or
Class of Claims or Equity lnterests), any assumption or rejection of Executory Contracts
effected by the Plan, and any document or agreement executed pursuant to the Plan, shall
be deemed null and void and nothing contained in the Plan, and no acts taken in
preparation for consummation of the Plan, shall: (a) constitute or be deemed to constitute
a waiver or release of any Claims by or against, or any Equity lnterests in, Leslie or any
other Entity, (b) prejudice in any manner the rights of Leslie or any Entity in any further
proceedings involving Leslie; or (c) constitute an admission of any sort by Leslie or any
other Entity.

ARTICLE XIV.
MISCELLANEOUS PROVISIONS

14.1. Governing Law. Unless a rule of law or procedure is supplied by federal
law (including the Bankruptcy Code and Bankruptcy Rules), or a Schedule or Exhibit
hereto or instrument, agreement or other document executed under the Plan provides
otherwise, the rights, duties and obligations arising under the Plan, and the instruments
agreements and other documents executed in connection with the Plan, shall be governed
by, and construed and enforced in accordance with, the internal laws of the State of
Delaware without giving effect to the principles of conflicts of law thereof

14.2. Administrative Expense Claims Bar Date. All Administrative Expense
Requests must be made by application filed with the Bankruptcy Court and served on
counsel for the Debtor no later than the Administrative Expense Claims Bar Date. ln the
event that the Debtor or Reorganized Debtor objects to an Administrative Expense Claim,
the Bankruptcy Court shall determine the Allowed amount of such Administrative
Expense Claim. Notwithstanding the foregoing (a) no application seeking payment of an
Administrative Expense Claim need be filed with respect to an undisputed post-petition
obligation which was paid or is payable by the Debtor in the ordinary course of business
provided however, that in no event shall a post-petition obligation that is contingent or
disputed and subject to liquidation through pending or prospective litigation including
but not limited to, obligations arising from personal injury, property damage, products
liability, consumer complaints employment law (excluding claims arising under
workers’ compensation law), secondary payor liability, or any other disputed legal or
equitable claim based on tort, statute, contract, equity, or common law, be considered to
be an obligation which is payable in the ordinary course of business and (b) no
application seeking payment of an Administrative Expense Claim need be filed with
respect to Cure owing under an executory contract or unexpired lease if the amount of
Cure is fixed by order of the Bankruptcy Court.

14.3. Notices. To be effective, all notices requests and demands to or upon
Leslie, or, as applicable, upon CIRCOR, the Future Claimants’ Representative and the

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Asbestos Claimants Committee, shall be in writing and unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually
delivered or, in the case of notice by facsimile transmission when received and
telephonically confirmed and addressed as follows:lf to Leslie;

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Leslie Controls, lnc.
c/o Tom Warner

12501 Telecom Drive
Tampa, FL 33637-0906

with a copy (which alone will not constitute notice) to:

Norman L. Pernick, Esq.

Marion M. Quirk, Esq.

Cole, Schotz, Meisel, Forman & Leonard, P.A.
500 Delaware Avenue, 1410

Wilmington, DE 19801

lf to CIRCOR or its Affiliates:

CIRCOR lnternational, Inc.
c/o Alan Glass

25 Corporate Drive, Suite 130
Burlington, MA 01803

With a copy to (which alone will not constitute notice) to:

William R. Hanlon, Esq.
Richard M. Wyner, Esq.
Goodwin Procter LLP

901 New York Avenue, N.W.
Washington, DC 20001

1f to the Future Claimants’ Representative

J ames L. Patton, Jr., Esq.

Young Conaway Stargatt & Taylor, LLP
1000 West Street, 17th Floor
Wilmington, DE 19801

with a copy (which alone will not constitute notice) to:

Edwin J. Hairon Esq.

Young Conaway Stargatt & Taylor, LLP
1000 Wesr screen 17th Fioor
Wilmington, DE 19801

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If to the Asbestos Claimants Committee:

Natalie D. Ramsey, Esq.

Montgomery, McCracken, Walker & Rhoads LLP
1105 North Market Street

15th Floor

Wilmington, DE 19801

14.4. Plan Supplement. Any and all Exhibits, lists or Schedules referred to
herein or in the Disclosure Statement but not filed with the Plan shall be contained in the
Plan Supplement and filed with the Clerk of the Bankruptcy Court at least five (5)
Business Days prior to the deadline established by the Bankruptcy Court for the filing
and service of objections to the Plan. Thereafter, the Plan Supplement will be available
for inspection in the office of the Clerk of the Bankruptcy Court during normal court
hours and at an internet site maintained for Leslie by the Claims and Balloting Agent,
with the web address set forth in the Disclosure Statement, Claimants also may obtain a
copy of the Plan Supplement, once filed from Leslie by written request sent to the
following address:

Epiq Bankruptcy Solutions, LLC
757 Third Avenue

Third Floor

New York, NY 10017

14.5. Inconsistencies. To the extent the Plan is inconsistent with the Disclosure
Statement, the provisions of the Plan shall be controlling To the extent the Plan is
inconsistent with the Confirmation Order, the provisions of the Confirmation Order shall
be controlling

14.6. Reservation of Rights If the Plan is not confirmed by a Final Order, or if
the Plan is confirmed and does not become effective, the rights of all parties in interest in
the Chapter 11 Case are and shall be reserved in full. Any concessions or settlements
reflected herein, if any, are made for purposes of the Plan only, and if the Plan does not
become effective, no party in interest in the Chapter 11 Case shall be bound or deemed
prejudiced by any such concession or settlement Moreover, if the Plan does riot become
effective no party in interest in the Chapter 11 Case shall be bound or prejudiced by any
representation written or oral, made by any party in connection with the Plan or the
negotiation or prosecution of the Plan, including without limitation the representations
made in the Plan, the Disclosure Statement or the Confirmation Order.

14.7. Tax Reporting and Compliance. ln connection with the Plan and all
instruments issued in connection therewith and Distributions thereon Leslie, and
Reorganized Leslie, shall comply with all withholding and reporting requirements
imposed by any federal, state, local or foreign taxing authority and all Distributions
hereunder shall be subject to any such withholding and reporting requirements No
holder of an Allowed Claim against Leslie shall effectuate any withholding with respect
to the cancellation or satisfaction of such Allowed Claim under the Plan. Reorganized

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Leslie is hereby authorized to request an expedited determination of taxes under section
505(b) of the Bankruptcy Code for all taxable periods of Leslie ending after the
Commencement Date through, and including the Effective Date of the Plan.

14.8. Exemption from Transfer Taxes. Pursuant to section 1146(a) of the
Bankruptcy Code, the issuance, transfer, or exchange of notes or equity securities under
the Plan, the creation of any mortgage, deed of trust, or other security interest the making
or assignment of any lease or sublease, or the making or delivery of any deed or other
instrument of transfer under, in furtherance of, or in connection with the Plan shall be
exempt from all taxes as provided in such section 1146(a).

14.9. Binding Effect. The rights, benefits and obligations of any Entity named
or referred to in the Plan, or whose actions may be required to effectuate the terms of the
Plan, shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such Entity (including but not limited to, any trustee
appointed for Leslie under Chapters 7 or 11 of the Bankruptcy Code). The Confirmation
Order shall provide that the terms and provisions of the Plan and the Confirmation Order
shall survive and remain effective after entry of any order which may be entered
converting the Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code, and
the terms and provisions of the Plan shall continue to be effective in this or any
superseding case under the Bankruptcy Code.

14.10. Severability. Upon the unanimous agreement of Leslie or Reorganized
Leslie, as the case may be, CIRCOR, any official committee, unless such committee has
been dissolved the Asbestos Claimants Committee, and the Future Claimants’
Representative, any provision of the Plan, the Confirmation Order, the Asbestos PI
Channeling Injunction, or any of the Exhibits to the Plan that is determined to be
prohibited unenforceable, or invalid by a court of competent jurisdiction or any other
governmental Entity with appropriate jurisdiction may be deemed ineffective as to any
jurisdiction in which such provision is prohibited unenforceable, or invalidated to the
extent of such prohibition unenforceability, or invalidation without invalidating the
effectiveness of the remaining provisions of the Plan, the Plan Documents the
Confirmation Order, the Asbestos PI Channeling Injunction and the Exhibits to the Plan
or affecting the validity or enforceability of such provision and such remaining provisions
in any other jurisdiction

14.11. Further Authorizations. Leslie and Reorganized Leslie, as applicable,
and, after the Effective Date, the Asbestos PI Trust, if and to the extent necessary, may
seek such orders judgments injunctions and rulings as each deems necessary to carry
out further the intentions and purposes of, and to give full effect to the provisions of, the
Plan.

14.12. Payment of Statutory Fees. All fees due and owing under section 1930
of title 28 of the United States Code, as determined by the Bankruptcy Court at the
Confirmation Hearing as pro-rated to the Effective Date, shall be paid on or before the
Effective Date. Reorganized Leslie shall pay all such fees that arise after the Effective

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Date but before the closing of the Chapter 11 Case, as pro-rated to the closing of the
Chapter 11 Case.

14.13. Prepayment. Except as otherwise provided in the Plan, the Plan
Documents or the Confirmation Order, Reorganized Leslie shall have the right to prepay,
without penalty, all or any portion of an Allowed Claim at any time; provided that any
such prepayment shall not violate or otherwise prejudice the relative priorities and
parities among the Classes of Claims.

14.14. Effective Date Actions Simultaneous. Unless the Plan or the
Confirmation Order provides otherwise, actions required to be taken on the Effective
Date shall take place and be deemed to have occurred simultaneously, and no such action
shall be deemed to have occurred prior to the taking of any other such action, Actions
required to be taken after the Effective Date or as soon as thereafter as is reasonably
practicable shall be deemed to have been made on the Effective Date.

14.15. General Statements Statements of a general nature set forth in this Plan
shall not be construed to limit or restrict the specific provisions herein

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Dated: August 20, 2010

LESLIE CONTROLS

By:C`¥(/`~’\)\A¢ /

Datcd: August 20, 2010

By:

Name: G. Wayne¥ ay
Title: ChichmtIuctm'ing

COLE, SCHOTZ, mISEL,
FORMAN & LEONARD, P.A.

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Facsimile: (410) 230-0667

Counsel for the Debtor and
Debtor in Possession

